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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION
                                                   )
  HALLEY ASCHER, GREGORY ASKEN,                    ) Master File No. 12-md-02311
  MELISSA BARRON, KIMBERLY BENNETT,                )
  DAVID BERNSTEIN, RON BLAU, TENISHA               ) Case No.
  BURGOS, KENT BUSEK, JENNIFER CHASE,              )
  RITA CORNISH, NATHAN CROOM, LORI                 )
  CURTIS, JESSICA DECASTRO, THERESIA               ) CLASS ACTION COMPLAINT FOR
  DILLARD, ALENA FARRELL, JANE                     ) DAMAGES AND INJUNCTIVE
  FITZGERALD, CARROLL GIBBS, DORI                  ) RELIEF
  GILELS, JASON GRALA, IAN GROVES,                 )
  CURTIS GUNNERSON, PAUL GUSTAFSON,                ) JURY TRIAL DEMANDED
  TOM HALVERSON, CURTIS HARR, ANDREW )
  HEDLUND, GARY ARTHUR HERR, JOHN                  )
  HOLLINGSWORTH, CAROL ANN                         )
  KASHISHIAN, ELIZABETH KAUFMAN,                   )
  ROBERT KLINGLER, KELLY KLOSTERMAN, )
  JAMES MAREAN, REBECCA LYNN                       )
  MORROW, EDWARD MUSCARA, STACEY                   )
  NICKELL, SOPHIE O’KEEFE-ZELMAN,                  )
  ROGER OLSON, WILLIAM PICOTTE,                    )
  WHITNEY PORTER, CINDY PRINCE, JANNE              )
  RICE, ROBERT RICE, JR., FRANCES                  )
  GAMMELL-ROACH, DARREL SENIOR,                    )
  MEETESH SHAH, DARCY SHERMAN, ERICA )
  SHOAF, ARTHUR STUKEY, KATHLEEN                   )
  TAWNEY, JANE TAYLOR, KEITH UEHARA,               )
  MICHAEL WICK, PHILLIP YOUNG, on Behalf )
  of Themselves and all Others Similarly Situated, )
                                                   )
                               Plaintiffs,         )
        vs.                                        )
                                                   )
  MARUYASU INDUSTRIES CO., LTD. and                )
  CURTIS-MARUYASU AMERICA, INC.,                   )
                                                   )
                               Defendants.         )
                                                   )
                                                   )
                                                   )
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       Plaintiffs Halley Ascher, Gregory Asken, Melissa Barron, Kimberly Bennett, David

Bernstein, Ron Blau, Tenisha Burgos, Kent Busek, Jennifer Chase, Rita Cornish, Nathan Croom,

Lori Curtis, Jessica Decastro, Theresia Dillard, Alena Farrell, Jane Fitzgerald, Carroll Gibbs,

Dori Gilels, Jason Grala, Ian Groves, Curtis Gunnerson, Paul Gustafson, Tom Halverson, Curtis

Harr, Andrew Hedlund, Gary Arthur Herr, John Hollingsworth, Carol Ann Kashishian, Elizabeth

Kaufman, Robert Klingler, Kelly Klosterman, James Marean, Rebecca Lynn Morrow, Edward

Muscara, Stacey Nickell, Sophie O’Keefe-Zelman, Roger Olson, William Picotte, Whitney

Porter, Cindy Prince, Janne Rice, Robert Rice, Jr., Frances Gammell-Roach, Darrel Senior,

Meetesh Shah, Darcy Sherman, Erica Shoaf, Arthur Stukey, Kathleen Tawney, Jane Taylor,

Keith Uehara, Michael Wick, and Phillip Young (“Plaintiffs”), on behalf of themselves and all

others similarly situated (the “Classes” as defined below), upon personal knowledge as to the

facts pertaining to themselves and upon information and belief as to all other matters, and based

on the investigation of counsel, bring this class action for damages, injunctive relief, and other

relief pursuant to federal antitrust laws and state antitrust, unfair competition, consumer

protection, and unjust enrichment laws. Plaintiffs demand a jury trial and allege as follows:


                                    NATURE OF ACTION

       1.      This lawsuit is brought as a proposed class action against Defendants Maruyasu

Industries Co., Ltd. and Curtis-Maruyasu America, Inc. (together, “Maruyasu”) (all as defined

below, and collectively, “Defendants”); and unnamed co-conspirators, manufacturers and/or

suppliers of Automotive Steel Tubes (defined below) globally and in the United States, for

engaging in a long-running conspiracy to unlawfully fix, artificially raise, maintain and/or

stabilize prices, rig bids for, and allocate the market and customers in the United States for

Automotive Steel Tubes. According to the United States Department of Justice (“DOJ”),


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Defendants’ conspiracy successfully targeted the long-struggling United States automotive

industry, raising prices for car manufacturers and consumers alike.

       2.      An “Automotive Steel Tube” is used in fuel distribution, braking, and other

automotive systems. Automotive Steel Tubes are sometimes divided into two categories: chassis

tubes and engine parts. Chassis tubes, such as brake and fuel tubes, tend to be located in the body

of a vehicle. Engine parts, such as fuel injection rails, oil level tubes, and oil strainer tubes, are

associated with the function of a vehicle’s engine.

       3.      Plaintiffs seek to represent all persons and entities who, during the period from

and including December 2003 through such time as the anticompetitive effects of Defendants’

conduct ceased (“Class Period”), purchased or leased a new four-wheeled passenger automobile,

van, sports utility vehicle, crossover, or pickup truck (“Vehicle”) in the United States for

personal use and not for resale which included one or more Automotive Steel Tube(s) as a

component part, which were manufactured or sold by a Defendant, any current or former

subsidiary of a Defendant or any co-conspirator of Defendants.

       4.      Defendants manufacture, market, and/or sell Automotive Steel Tubes throughout

and into the United States. Defendants and their co-conspirators (as yet unknown) agreed,

combined, and conspired to fix, raise, maintain and/or stabilize prices, rig bids, and allocate the

market and customers in the United States for Automotive Steel Tubes.

       5.      The DOJ’s Antitrust Division is currently conducting a broad criminal

investigation into illegal price-fixing and bid-rigging in the automotive parts industry. As part of

its criminal investigation, the DOJ is seeking information about unlawful anticompetitive

conduct in the market for a number of different but related automotive parts, and the Federal

Bureau of Investigation (“FBI”) has participated in raids, pursuant to search warrants, carried out



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in the offices of a number of major competitors in the automotive parts industry. The automotive

parts investigation is the largest criminal investigation the Antitrust Division has ever pursued,

both in terms of its scope and its impact on American consumers and businesses. The ongoing

cartel investigation of price-fixing and bid-rigging in the automotive parts industry has yielded,

to date, more than $2.8 billion in criminal fines.

       6.      On June 15, 2016, the DOJ announced that Maruyasu Industries Co., Ltd., its

wholly-owned U.S. subsidiary, Curtis-Maruyasu America, Inc., and four executives of

Maruyasu, Tadao Hirade, Satoru Murai, Kazunori Kobayashi, and Yoshihiro Shigematsu, were

indicted for conspiring to fix the prices of Automotive Steel Tubes. The Indictment also alleges

that Maruyasu and their conspirators employed measures to conceal their conduct, including, but

not limited to, avoiding the use of co-conspirators’ names, meeting surreptitiously with co-

conspirators and adopting means and methods of communication designed to avoid detection.

       7.      Defendants and their co-conspirators participated in a combination and conspiracy

to suppress and eliminate competition in the automotive parts industry by agreeing to allocate the

supply of, rig bids for, and to fix, stabilize, and maintain the prices of, Automotive Steel Tubes

sold to Vehicle manufacturers and others in the United States. The combination and conspiracy

engaged in by Defendants and their co-conspirators was an unreasonable restraint of interstate

and foreign trade and commerce in violation of the Sherman Act, 15 U.S.C. § 1, and state

antitrust, unfair competition, consumer protection and unjust enrichment laws.

       8.      As a direct result of the anticompetitive and unlawful conduct alleged herein,

Plaintiffs and the Classes (as defined below) paid artificially inflated prices for Automotive Steel

Tubes during the Class Period and have thereby suffered antitrust injury to their business or

property.



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                                 JURISDICTION AND VENUE

       9.      Plaintiffs bring this action under Section 16 of the Clayton Act (15 U.S.C. § 26) to

secure equitable and injunctive relief against Defendants for violating Section 1 of the Sherman

Act (15 U.S.C. § 1). Plaintiffs also assert claims for actual and exemplary damages pursuant to

state antitrust, unfair competition, consumer protection, and unjust enrichment laws, and seek to

obtain restitution, recover damages, and secure other relief against Defendants for violations of

those state laws. Plaintiffs and the Classes also seek attorneys’ fees, costs, and other expenses

under federal and state law.

       10.     This Court has jurisdiction over the subject matter of this action pursuant to

Section 16 of the Clayton Act (15 U.S.C. § 26), Section 1 of the Sherman Act (15 U.S.C. § 1),

and Title 28, United States Code, Sections 1331 and 1337. This Court has subject matter

jurisdiction of the state law claims pursuant to 28 U.S.C. §§ 1332(d) and 1367, in that this is a

class action in which the matter or controversy exceeds the sum of $5,000,000, exclusive of

interests and costs, and in which some members of the proposed Classes are citizens of a state

different from the Defendants.

       11.     Venue is proper in this District pursuant to Section 12 of the Clayton Act (15

U.S.C. § 22), and 28 U.S.C. §§ 1391 (b), (c), and (d), because a substantial part of the events

giving rise to Plaintiffs’ claims occurred in this District, a substantial portion of the affected

interstate trade and commerce discussed below has been carried out in this District, and one or

more Defendants reside, are licensed to do business in, are doing business in, had agents in, or

are found or transact business in this District.

       12.     This Court has in personam jurisdiction over Defendants because each, either

directly or through the ownership and/or control of its subsidiaries, inter alia: (a) transacted

business in the United States, including in this District; (b) directly or indirectly sold or marketed

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substantial quantities of Automotive Steel Tubes throughout the United States, including in this

District; (c) had substantial aggregate contacts with the United States as a whole, including in

this District; or (d) were engaged in an illegal price-fixing conspiracy that was directed at, and

had a direct, substantial, reasonably foreseeable and intended effect of causing injury to the

business or property of persons and entities residing in, located in, or doing business throughout

the United States, including in this District. Defendants also conduct business throughout the

United States, including in this jurisdiction, and they have purposefully availed themselves of the

laws of the United States.

       13.     Defendants engaged in conduct both inside and outside of the United States that

caused direct, substantial and reasonably foreseeable and intended anticompetitive effects upon

interstate commerce within the United States.

       14.     The activities of Defendants and their co-conspirators directly targeted the United

States Vehicle market and were within the flow of, were intended to, and did have, a substantial

effect on interstate commerce of the United States. Defendants’ products are sold in the flow of

interstate commerce.

       15.     According to the Indictment filed against Maruyasu, Defendant Curtis-Maruyasu

America, Inc. conducted business from facilities located in several areas throughout the United

States, including Tracy, California and San Antonio, Texas. Defendant Maruyasu Industries Co.,

Ltd., by and though its wholly-owned subsidiary Defendant Curtis-Maruyasu America, Inc. and

other subsidiaries, manufactured and supplied Automotive Steel Tubes in the United States,

including from a facility in Lebanon, Kentucky, which is operated by Defendant Curtis-

Maruyasu America, Inc. The Indictment also states that Maruyasu participated in meetings in

the United States the purpose of which were to fix prices, allocate customers and rig bids for



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Automotive Steel Tubes. The meetings took place in several locations in the United States,

including the following:      (1) Lebanon, Kentucky; (2) Lexington, Kentucky; (3) Detroit,

Michigan; (4) Dayton, Ohio; and (5) Findlay, Ohio.

          16.   The Indictment also states that other corporations and individuals, located in the

United States and Japan, participated as co-conspirators in the Automotive Steel Tubes

conspiracy.

          17.   Automotive Steel Tubes manufactured abroad by Defendants and sold for use in

Vehicles in the United States are goods brought into the United States for sale, and therefore

constitute import commerce. To the extent any Automotive Steel Tubes are purchased in the

United States, and such Automotive Steel Tubes do not constitute import commerce, Defendants’

activities with respect thereto, as more fully alleged herein during the Class Period, had, and

continue to have, a direct, substantial and reasonably foreseeable effect on United States

commerce. The anticompetitive conduct, and its effect on United States commerce described

herein, proximately caused antitrust injury to Plaintiffs and members of the Classes in the United

States.

          18.   By reason of the unlawful activities hereinafter alleged, Defendants’ unlawful

activities substantially affected commerce throughout the United States, causing injury to

Plaintiffs and members of the Classes. Defendants, directly and through their agents, engaged in

activities affecting all states, to fix, raise, maintain and/or stabilize prices, rig bids and allocate

the market and customers in the United States for Automotive Steel Tubes, which conspiracy

unreasonably restrained trade and adversely affected the market for Automotive Steel Tubes.




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       19.    Defendants’ conspiracy and wrongdoing described herein adversely affected

persons in the United States who purchased or leased a new Vehicle in the United States not for

resale which included one or more Automotive Steel Tubes.


                                           PARTIES

                                           Plaintiffs

       20.    Plaintiff Halley Ascher is a District of Columbia resident who purchased at least

one Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       21.    Plaintiff Gregory Asken is a Nevada resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       22.    Plaintiff Melissa Barron is a California resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       23.    Plaintiff Kimberly Bennett is an Arkansas resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       24.    Plaintiff David Bernstein is a Minnesota resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       25.    Plaintiff Ron Blau is a Massachusetts resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       26.    Plaintiff Tenisha Burgos is a New York resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       27.    Plaintiff Kent Busek is a North Dakota resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       28.    Plaintiff Jennifer Chase is an Iowa resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.


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       29.     Plaintiff Rita Cornish is a Utah resident who purchased at least one Automotive

Steel Tube indirectly from at least one Defendant or its co-conspirators.

       30.     Plaintiff Nathan Croom is a Nebraska resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       31.     Plaintiff Lori Curtis is a Missouri resident who purchased at least one Automotive

Steel Tube indirectly from at least one Defendant or its co-conspirators.

       32.     Plaintiff Jessica DeCastro is a Missouri resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       33.     Plaintiff Theresia Dillard is a Mississippi resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       34.     Plaintiff Alena Farrell is a Vermont resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       35.     Plaintiff Jane Fitzgerald is a Vermont resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       36.     Plaintiff Carroll Gibbs is a District of Columbia resident who purchased at least

one Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       37.     Plaintiff Dori Gilels is a Montana resident who purchased at least one Automotive

Steel Tube indirectly from at least one Defendant or its co-conspirators.

       38.     Plaintiff Jason Grala is a New York resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       39.     Plaintiff Ian Groves is a New Mexico resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.




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       40.    Plaintiff Curtis Gunnerson is a Minnesota resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       41.    Plaintiff Paul Gustafson is an Oregon resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       42.    Plaintiff Tom Halverson is an Arizona resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       43.    Plaintiff Curtis Harr is a North Dakota resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       44.    Plaintiff Andrew Hedlund is a South Carolina resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       45.    Plaintiff Gary Arthur Herr is a Florida resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       46.    Plaintiff John Hollingsworth is a California resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       47.    Plaintiff Carol Ann Kashishian is a Wisconsin resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       48.    Plaintiff Elizabeth Kaufman is a Florida resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       49.    Plaintiff Robert Klingler is a Missouri resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       50.    Plaintiff Kelly Klosterman is a North Dakota resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.




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       51.    Plaintiff James Marean is a Maine resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       52.    Plaintiff Rebecca Lynn Morrow is an Arizona resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       53.    Plaintiff Edward Muscara is a New Hampshire resident who purchased at least

one Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       54.    Plaintiff Stacey Nickell is a West Virginia resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       55.    Plaintiff Sophie O’Keefe-Zelman is an Arizona resident who purchased at least

one Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       56.    Plaintiff Roger Olson is a Michigan resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       57.    Plaintiff William Picotte is a former South Dakota resident who purchased at least

one Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       58.    Plaintiff Whitney Porter is a District of Columbia resident who purchased at least

one Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       59.    Plaintiff Cindy Prince is a former Oregon resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       60.    Plaintiff Janne Rice is a West Virginia resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       61.    Plaintiff Robert Rice, Jr. is a West Virginia resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.




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       62.     Plaintiff Frances Gammell-Roach is a Rhode Island resident who purchased at

least one Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       63.     Plaintiff Darrel Senior is a Kansas resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       64.     Plaintiff Meetesh Shah is a California resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       65.     Plaintiff Darcy Sherman is a Minnesota resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       66.     Plaintiff Erica Shoaf is an Arizona resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       67.     Plaintiff Arthur Stukey is a Vermont resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       68.     Plaintiff Kathleen Tawney is a North Carolina resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       69.     Plaintiff Jane Taylor is a Hawaii resident who purchased at least one Automotive

Steel Tube indirectly from at least one Defendant or its co-conspirators.

       70.     Plaintiff Keith Uehara is a Hawaii resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       71.     Plaintiff Michael Wick is a New Mexico resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

       72.     Plaintiff Phillip Young is a Tennessee resident who purchased at least one

Automotive Steel Tube indirectly from at least one Defendant or its co-conspirators.

                                               Defendants



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       73.     When Plaintiffs refer to a corporate family or companies by a single name in the

Complaint, they are alleging that one or more employees or agents of entities within that

corporate family engaged in conspiratorial acts on behalf of every company in that family. The

individual participants in the conspiratorial acts did not always know the corporate affiliation of

their counterparts, nor did they distinguish between the entities within a corporate family. The

individual participants entered into agreements on behalf of their respective corporate families.

As a result, those agents represented the entire corporate family with respect to such conduct,

and the corporate family was party to the agreements that those agents reached.

Maruyasu Defendants

       74.     Defendant Maruyasu Industries Co., Ltd. is a Japanese corporation with its

principal place of business in Nagoya, Aichi Prefecture, Japan. Defendant Maruyasu Industries

Co., Ltd. – directly and/or through its subsidiaries, which it wholly owned and/or controlled –

manufactured, marketed and/or sold Automotive Steel Tubes that were sold and purchased

throughout the United States, including in this district, during the Class Period.

       75.     Defendant Curtis-Maruyasu America, Inc. is an Indiana corporation with its

principal place of business in Lebanon, Kentucky. During the Class Period, Curtis-Maruyasu

America, Inc. conducted business from facilities located in several areas of the United States,

including Tracy, California and San Antonio, Texas. Curtis-Maruyasu America, Inc. is a

subsidiary of and wholly owned and/or controlled by its parent, Maruyasu Industries Co., Ltd.

Curtis-Maruyasu America, Inc. manufactured, marketed and/or sold Automotive Steel Tubes that

were sold and purchased throughout the United States, including in this District, during the Class

Period. At all times during the Class Period, its activities in the United States were under the

control and direction of its Japanese parent.



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                             AGENTS AND CO-CONSPIRATORS

        76.     Each Defendant acted as the principal of or agent for the other Defendant with

respect to the acts, violations, and common course of conduct alleged herein.

        77.     Various persons, partnerships, sole proprietors, firms, corporations and

individuals not named as defendants in this lawsuit, and individuals, the identities of which are

presently unknown, have participated as co-conspirators with Defendants in the offenses alleged

in this Complaint, and have performed acts and made statements in furtherance of the conspiracy

or in furtherance of the anticompetitive conduct.

        78.     Whenever in this Complaint reference is made to any act, deed or transaction of

any corporation or limited liability entity, the allegation means that the corporation or limited

liability entity engaged in the act, deed or transaction by or through its officers, directors, agents,

employees or representatives while they were actively engaged in the management, direction,

control or transaction of the corporation’s or limited liability entity’s business or affairs.


                                   FACTUAL ALLEGATIONS

        A.      The Automotive Steel Tube Industry

        79.     An “Automotive Steel Tube” is used in fuel distribution, braking, and other

automotive systems. Automotive Steel Tubes are sometimes divided into two categories: chassis

tubes and engine parts. Chassis tubes, such as brake and fuel tubes, tend to be located in the body

of a vehicle, while engine parts, such as fuel injection rails, oil level tubes, and oil strainer tubes,

are associated with the function of a vehicle’s engine.

Figure 1: Curtis-Maruyasu America, Inc. Chassis Tubes




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Figure 2: Curtis-Maruyasu America, Inc. Engine Parts




       80.    Automotive Steel Tubes are installed by original equipment manufacturers

(“OEMs”) in Vehicles as part of the automotive manufacturing process.



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       81.     For Vehicles, the OEMs – mostly large automotive manufacturers such as Ford

Motor Company, Toyota Motor Corporation, General Motors Corp., etc. – purchase Automotive

Steel Tubes directly from Defendants. Automotive Steel Tubes may also be purchased by

component manufacturers who then supply such systems to OEMs. These component

manufacturers are also called “Tier 1 Manufacturers” in the industry. Tier 1 Manufacturers

supply Automotive Steel Tubes directly to an OEM.

       82.     When purchasing Automotive Steel Tubes, OEMs issue Requests for Quotation

(“RFQs”) to automotive parts suppliers on a model-by-model basis for model specific parts.

Automotive parts suppliers submit quotations, or bids, to OEMs in response to RFQs, and the

OEMs usually award the business to the selected automotive parts supplier for the lifespan of the

model, which is usually four to six years. Typically, the bidding process for a particular model

begins approximately a year or more prior to the start of production, and Automotive Steel Tubes

are developed over a year in advance of a Vehicle entering the market. OEMs procure

Automotive Steel Tubes and other parts for U.S.-manufactured Vehicles in the United States and

elsewhere.

       83.     Defendants and their co-conspirators supplied Automotive Steel Tubes to OEMs

for installation in Vehicles manufactured and sold in the United States and elsewhere. According

to the Indictment filed against Maruyasu, Defendants and their co-conspirators: (a) manufactured

and sold Automotive Steel Tubes in the United States for installation in Vehicles and engines

manufactured and sold in the United States; (b) manufactured Automotive Steel Tubes in foreign

countries and sold them for delivery to the United States and installation in Vehicles and engines

manufactured and sold in the United States; and (c) manufactured and sold Automotive Steel




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Tubes in foreign countries for installation in Vehicles and engines manufactured in foreign

countries, some of which were then delivered to and sold in the United States.

        84.    Plaintiffs and members of the proposed Classes purchased Automotive Steel

Tubes indirectly from one or more of the Defendants and their co-conspirators. By way of

example, an owner of a Vehicle may indirectly purchase one or more Automotive Steel Tube(s)

from the Defendants or their co-conspirators as part of purchasing or leasing a new Vehicle.

        B.     The Structure and Characteristics of the Automotive Steel Tubes
               Market Render the Conspiracy More Plausible

        85.    The Automotive Steel Tubes market in the United States is conducive to a price-

fixing agreement and has made collusion particularly attractive in this market because of its

structure and other characteristics. Specifically, the Automotive Steel Tubes market: (1) has high

barriers to entry and (2) has inelasticity of demand.

               1.      The Automotive Steel Tubes Market Has High Barriers to Entry

        86.    A collusive arrangement that raises product prices above competitive levels

would, under basic economic principles, attract new entrants seeking to benefit from the supra-

competitive pricing. Where, however, there are significant barriers to entry, new entrants are less

likely to enter the market. Thus, barriers to entry help to facilitate the formation and maintenance

of a cartel.

        87.    There are substantial barriers that preclude, reduce, or make more difficult entry

into the Automotive Steel Tubes market. A new entrant into the business would face costly and

lengthy start-up costs, including multi-million dollar costs associated with manufacturing plants

and equipment, energy, transportation, distribution infrastructure, skilled labor, and long-

standing customer relationships.




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       88.     In addition, OEMs cannot change Automotive Steel Tubes suppliers randomly

after a supplier is initially selected because the OEMs design the features of their Vehicles so

that the Automotive Steel Tubes they purchase for a Vehicle are then integrated with the other

components, such as fuel distribution, braking, chassis, and engine systems, of the particular

Vehicle model. Thus, manufacturers of Automotive Steel Tubes and OEMs must agree on a

design that is unique to a particular Vehicle model. It would be difficult for a new market entrant

to do so.

               2.      There is Inelasticity of Demand for Automotive Steel Tubes

       89.     “Elasticity” is a term used to describe the sensitivity of supply and demand to

changes in one or the other. For example, demand is said to be “inelastic” if an increase in the

price of a product results in only a small decline in the quantity sold of that product, if any. In

other words, customers have nowhere to turn for alternative, cheaper products of similar quality,

and so continue to purchase despite a price increase.

       90.     For a cartel to profit from raising prices above competitive levels, demand must

be relatively inelastic at competitive prices. Otherwise, increased prices would result in declining

sales, revenues, and profits, as customers purchased substitute products or declined to buy

altogether. Inelastic demand is a market characteristic that facilitates collusion, allowing

producers to raise their prices without triggering customer substitution and lost sales revenue.

       91.     Demand for Automotive Steel Tubes is highly inelastic because there are no close

substitutes for these products. In addition, customers must purchase Automotive Steel Tubes as

an essential part of a Vehicle, even if the prices are kept at a supra-competitive level.

       C.      Government Investigations

       92.     A globally coordinated antitrust investigation is taking place in the United States,

Europe, Canada, and Japan, aimed at suppliers of automotive parts in general and Automotive

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Steel Tubes in particular. A Japan Fair Trade Commission (“JFTC”) official told a leading legal

publication that the international automotive parts supplier investigation would continue to

widen because the automotive industry as a whole comprises many sub-industries. He

characterized the investigation being conducted by international antitrust authorities as “large

and broad,” and he declined to deny that this “would be history’s largest case.”

       93.     The antitrust probe originated in Europe as the result of several European OEMs

coming together to bring a complaint to the European Commission (“EC”). The EC and the FBI

have executed surprise raids at the European and U.S. offices of several automotive parts

manufacturers as part of an investigation into anticompetitive conduct related to the

manufacturing and sale of automotive parts.

       94.     On February 8, 2010, the EC executed surprise raids at the European offices of

certain automotive parts makers. The DOJ has confirmed that its automotive parts investigation

is the largest criminal investigation that the Antitrust Division has ever pursued, both in terms of

its scope and the potential volume of commerce affected by the illegal conduct. To date, as a

result of its wide spread investigation, the DOJ has charged over 100 individuals and entities

with criminal antitrust violations and the DOJ has levied more than $2.8 billion in criminal fines

against various automotive parts manufacturers.

Defendants Maruyasu Industries Co., Ltd. and Curtis-Maruyasu America, Inc. and
Four of their Executives are Indicted for Price-Fixing Automotive Steel Tubes

       95.     On June 15, 2016, the DOJ announced that a federal grand jury sitting in the U.S.

District Court for the Southern District of Ohio returned an Indictment charging Maruyasu

Industries Co., Ltd., Curtis-Maruyasu America, Inc. and four executives, Tadao Hirade, Satoru

Murai, Kazunori Kobayashi, and Yoshihiro Shigematsu, with conspiring to fix prices, allocate

customers, and rig bids for Automotive Steel Tubes sold in the United States and elsewhere from


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at least as early as December 2003 until at least July 9, 2011 in violation of Section 1 of the

Sherman Act, 15 U.S.C. § 1.

       96.    According to the criminal Indictment, Maruyasu Industries Co., Ltd., Curtis-

Maruyasu America, Inc., Hirade, Murai, Kobayashi, Shigematsu, and their co-conspirators

carried out the Automotive Steel Tubes conspiracy by:

              (a)    participating in (and directing, authorizing, and consenting to the

              participation of subordinate employees in) meetings, conversations, and

              communications in the United States and elsewhere concerning customers, bids,

              prices, and price adjustments for Automotive Steel Tubes to be submitted to

              customers in the United States and elsewhere, including meetings in or around:

              March 2004 near Lebanon, Kentucky, August 2004 near Detroit, Michigan;

              November 2004 near Lexington, Kentucky; May 2007 in Detroit, Michigan;

              October 2008 in Dayton, Ohio; July 2009 in Dayton, Ohio, and October 2010 in

              Findlay, Ohio;

              (b)    exchanging information and agreeing (and directing, authorizing, and

              consenting to subordinate employees exchanging information and agreeing)

              during such meetings, conversations, and communications on allocation of

              customers, as well as on bids, prices, and price adjustments to be submitted to

              customers in the United States and elsewhere;

              (c)    agreeing, during those meetings, conversations, and communications not

              to compete for certain customers or for certain business for Automotive Steel

              Tubes sold in the United States and elsewhere by not submitting prices or bids by




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                 submitting collusive and noncompetitive prices or bids to customers in the United

                 States and elsewhere;

                 (d)      submitting, directing, and authorizing the submission of collusive and

                 noncompetitive bids, prices, and price adjustments for Automotive Steel Tubes;

                 (e)      selling Automotive Steel Tubes to customers in the United States and

                 elsewhere at collusive and noncompetitive prices;

                 (f)      accepting payment for Automotive Steel Tubes sold to customers, in the

                 United States and elsewhere at collusive and noncompetitive prices; and

                 (g)      employing measures to conceal their conduct, including, but not limited

                 to, avoiding the use of co-conspirators’ names, meeting surreptitiously with co-

                 conspirators, and adopting means and methods of communication designed to

                 avoid detection.

        97.      Hirade, a resident and citizen of Japan, served as Assistant General Manager of Sales

Group No. 2 and General Manager of Sales Division 2 for Defendant Maruyasu Industries Co., Ltd.,

from at least as early as July 2003 through at least March 2010, the exact dates being unknown. In both

of those positions, Hirade had responsibility for sales of Automotive Steel Tubes by Defendant

Maruyasu Industries Co., Ltd. Hirade was an employee of Defendant Maruyasu Industries Co., Ltd.

until at least July 9, 2011.

        98.      Kobayashi, a resident and citizen of Japan, resided in the United States and served

as sales coordinator at Defendant Curtis-Maruyasu America, Inc., with responsibility for sales of

Automotive Steel Tubes to customers in the United States from at least as early as 2002 through

at least April 2006, the exact dates being unknown. From at least as early as June 2007 through

at least July 2009, Kobayashi resided in Japan, where he served as General Manager of Sales



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Group No. 1 and then General Manager for Sales Division No. 2 for Defendant Maruyasu

Industries Co., Ltd., with responsibility for sales of Automotive Steel Tubes. Kobayashi was an

employee of Defendant Maruyasu Industries Co., Ltd. until at least July 9, 2011.

       99.     Murai, a resident and citizen of Japan, was Managing Director and then Senior

Managing Director for Defendant Maruyasu Industries Co., Ltd., with responsibility for sales of

Automotive Steel Tubes by Defendant Maruyasu Industries Co., Ltd., from at least as early as

December 2001 through at least July 2011, the exact dates being unknown. Murai was an

employee of Defendant Maruyasu Industries Co., Ltd. until at least July 9, 2011.

       100.    Shigematsu, a resident and citizen of Japan, was a Chief in Sales Group No. 1 and

Sales Group No. 2 for Defendant Maruyasu Industries Co., Ltd. and had responsibility for sales

of Automotive Steel Tubes by Defendant Maruyasu Industries Co., Ltd., from at least as early as

July 2003 through December 2005, the exact dates being unknown. From at least as early as May

2006 through October 2010, Shigematsu resided in the United States and served as sales

coordinator at Defendant Curtis-Maruyasu America, Inc., with responsibility for sales of

Automotive Steel Tubes to customers in the United States. Shigematsu was an employee of

Defendant Maruyasu Industries Co., Ltd. until at least July 9, 2011.

       D.      Likely Existence of a Cooperating Defendant

       101.    The Antitrust Criminal Penalty Enhancement and Reform Act (“ACPERA”)

provides leniency benefits for a participant in a price-fixing conspiracy that voluntarily discloses

its conduct to the DOJ. In most recent cases in which guilty pleas for price-fixing conduct have

been obtained, there has been a cooperating party that has been accepted into the DOJ’s

ACPERA program as an “amnesty applicant.” One of the leniency benefits for a conspirator that




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is accepted into the ACPERA program is that it is not charged with a criminal offense and is not

required to plead guilty to criminal charges.

       102.    In light of the Indictments in this case, multiple guilty pleas in related automotive

parts antitrust cases and the DOJ’s ongoing investigation into the industry, it is reasonable for

this Court to infer that there is an ACPERA “amnesty applicant” in this case.

       E.      Additional Criminal Pleadings in the Automotive Parts Industry

       103.    On September 29, 2011, the DOJ announced that Furukawa Electric Co. Ltd.

agreed to plead guilty and pay a $200 million criminal fine for its role in a criminal price-fixing

and bid-rigging conspiracy involving the sale of automotive wire harnesses and related products

to automobile manufacturers.

       104.    In the press release announcing the fine against Furukawa Electric Co. Ltd.,

Sharis A. Pozen, then the Acting Assistant Attorney General in charge of the DOJ’s Antitrust

Division, said that “[a]s a result of this international price-fixing and bid-rigging conspiracy,

automobile manufacturers paid noncompetitive and higher prices for parts in cars sold to U.S.

consumers.” Ms. Pozen also stated that “[t]his cartel harmed an important industry in our

nation’s economy, and the Antitrust Division with the Federal Bureau of Investigation will

continue to work together to ensure that these kinds of conspiracies are stopped.” The press

release also quoted FBI’s Special Agent in Charge Andrew G. Arena, who said that “[w]hen

companies partner to control and price fix bids or contracts, it undermines the foundation of the

United States’ economic system,” and that “[t]he FBI is committed to aggressively pursuing any

company involved in antitrust crimes.”

       105.     On January 30, 2012, the DOJ announced that Yazaki Corporation agreed to

plead guilty and pay a $470 million criminal fine and DENSO Corporation agreed to plead guilty

and pay a $78 million criminal fine for their respective involvement in multiple price-fixing and

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bid-rigging conspiracies in the sale of automotive parts to automobile manufacturers in the

United States. According to the three-count criminal Information filed against Yazaki, it engaged

in three separate conspiracies: (i) to rig bids for and to fix, stabilize, and maintain the prices of,

automotive wire harnesses and related products sold to certain automobile manufacturers in the

United States and elsewhere; (ii) to rig bids for and to fix, stabilize, and maintain the prices of,

instrument panel clusters (“IPCs”) sold to certain automobile manufacturers in the United States

and elsewhere; and (iii) to fix, stabilize, and maintain the prices of fuel senders sold to an

automobile manufacturer in the United States and elsewhere. According to the two-count felony

charge against DENSO Corporation, it engaged in conspiracies to rig bids for, and to fix,

stabilize, and maintain the prices of, electronic control units (“ECUs”) and heater control panels

(“HCPs”) sold to an automobile manufacturer in the United States and elsewhere.

       106.    In the press release announcing the fines against Yazaki Corporation, its

executives, and DENSO Corporation, Ms. Pozen vowed to continue the investigation into

“pernicious cartel conduct that results in higher prices to American consumers . . . .” In the same

press release, Special Agent in Charge Andrew G. Arena said that “[t]his criminal activity has as

significant impact on the automotive manufacturers in the United States, Canada, Japan and

Europe and has been occurring for at least a decade. The conduct has also affected commerce on

a global scale in almost every market where automobiles are manufactured and/or sold[.]”

       107.    Ms. Pozen said there is no doubt consumers were hurt financially by the

automotive wire harness price-fixing conspiracy. She stated: “By rigging bids on wiring

harnesses . . . the three companies inflated what some of their auto manufacturer clients paid, and

indirectly, what consumers paid for some cars.”




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       108.    On April 3, 2012, the DOJ announced that G.S. Electech Inc. agreed to plead

guilty and pay a $2.75 million criminal fine for its role in a conspiracy to rig bids for, and to fix,

stabilize, and maintain the prices of, speed sensor wire assemblies used on antilock brake

systems sold to an automobile manufacturer in the United States and elsewhere.

       109.    On April 23, 2012, the DOJ announced that Fujikura Ltd. agreed to plead guilty

and pay a $20 million criminal fine for its role in a conspiracy to rig bids for, and to fix, stabilize,

and maintain the prices of, automotive wire harnesses and related products sold to an automobile

manufacturer in the United States and elsewhere.

       110.    On June 6, 2012, the DOJ announced that Autoliv Inc. agreed to plead guilty to a

two-count criminal Information and pay a $14.5 million criminal fine for its involvement in a

combination and conspiracy to suppress competition in the automotive parts industry by (i)

agreeing to rig bids for, and to fix, stabilize, and maintain the prices of, certain seatbelts sold to a

Japanese automobile manufacturer; and (ii) agreeing to rig bids for, and to fix, stabilize, and

maintain the prices of, certain seatbelts, airbags, and/or steering wheels sold to a Japanese

automobile manufacturer.

       111.    On July 30, 2012, the DOJ announced that TRW Deutschland Holding GmbH

agreed to plead guilty and pay a $5.1 million criminal fine for its involvement in a combination

and conspiracy, through its employees, including high level employees of its wholly-owned

subsidiaries, to suppress and eliminate competition in the automotive parts industry by agreeing

to rig bids for, and to fix, stabilize, and maintain the prices of seatbelts, airbags and steering

wheels sold to two German automobile manufacturers in the United States and elsewhere.

       112.    On August 28, 2012, the DOJ announced that Nippon Seiki Co. Ltd. agreed to

plead guilty and pay a $1 million criminal fine for its involvement in a combination and



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conspiracy to suppress competition in the automotive parts industry by agreeing to rig bids for,

and to fix, stabilize, and maintain the prices of, IPCs sold to an automobile manufacturer in the

United States and elsewhere.

        113.    On October 30, 2012, the DOJ announced that Tokai Rika Co. Ltd. agreed to

plead guilty and pay a $17.7 million criminal fine for its involvement in a conspiracy to rig bids

for, and to fix, stabilize, and maintain the prices of, HCPs sold to Toyota Motor Corporation and

Toyota Motor Engineering & Manufacturing North America, Inc. in the United States and

elsewhere. Tokai Rika also agreed to plead guilty to a charge of obstruction of justice related to

the investigation of the antitrust violation.

        114.    On February 15, 2013, Scott Hammond, the Deputy Assistant Attorney General in

the Antitrust Division, discussed the DOJ’s ongoing automotive parts investigation in a Thomson

Reuters article. He said “[t]he investigation is broader than what we’ve announced so far . . . .

[The investigation] is still very much ongoing, but it already appears to be the biggest criminal

antitrust investigation that we’ve ever encountered. I say the biggest with respect to the impact

on U.S. businesses and consumers, and the number of companies and executives that are

subject to the investigation.” (emphasis added).

        115.    On July 16, 2013, the DOJ announced that Diamond Electric Mfg. Co. Ltd.

agreed to plead guilty and pay a $19 million criminal fine for its involvement in a combination

and conspiracy to suppress competition in the automotive parts industry by agreeing to rig bids

for, and to fix, stabilize, and maintain the prices of, ignition coils sold to automobile

manufacturers in the United States and elsewhere.

        116.    In the press release announcing the fine against Diamond Electric Mfg. Co. Ltd.,

Robert D. Foley III, Agent in Charge, FBI Detroit Division said “[t]hose who engage in price



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fixing, bid rigging and other fraudulent schemes harm the automotive industry by driving up

costs for vehicle makers and buyers.”

       117.    On July 18, 2013, Panasonic Corporation agreed to plead guilty and pay a $45.8

million criminal fine for its role in a conspiracy to fix prices of various automotive parts

including high intensity discharge (“HID”) ballasts, switches and steering angle sensors installed

in automobiles sold in the United States and elsewhere.

       118.    On September 26, 2013, nine additional Japanese automotive suppliers agreed to

plead guilty to conspiracy charges and pay more than $740 million in criminal fines for their

roles in rigging the prices of more than 30 different products:

               (a)     Hitachi Automotive Systems Ltd. agreed to plead guilty and pay a $195

               million criminal fine for its participation in a conspiracy to rig bids for, and to fix,

               stabilize and maintain the prices of automotive parts, including, among others, air

               flow meters, fuel injection systems, electronic throttle bodies, and inverters, sold

               to automobile manufacturers in the United States and elsewhere;

               (b)     Mitsuba Corporation agreed to plead guilty and pay a $135 million

               criminal fine for its participation in a conspiracy to rig bids for, and to fix,

               stabilize and maintain the prices of certain automotive parts sold to automobile

               manufacturers in the United States and elsewhere. Mitsuba Corporation’s plea

               agreement defined “automotive parts” to include windshield wiper systems,

               windshield washer systems, starter motors, power window motors, fan motors,

               radiator fans, door mirrors, lamps, power seat motors, sunroof, door and tailgate

               motors, electric power steering motors, electronic throttle motors, horns,

               automotive electric relays and switches, automotive electric actuators, AC



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            generations, and fuel pumps. Mitsuba also agreed to plead guilty to one count of

            obstruction of justice because of the company’s efforts to destroy evidence

            ordered by a high-level U.S.-based executive after learning of the U.S.

            investigation of collusion in the automotive parts industry;

            (c)    Mitsubishi Electric Corporation agreed to plead guilty and pay a $190

            million criminal fine for its participation in a conspiracy to rig bids for, and to fix,

            stabilize and maintain the prices of certain automotive parts sold to automobile

            manufacturers in the United States and elsewhere. For purposes of Mitsubishi

            Electric Corporation’s plea agreement, “automotive parts” are defined to include,

            AC generators, air bag sensors, electronic control units, exhaust gas recirculation

            valves, fuel injectors, fuel pumps, HID ballasts, ignition coils, integrated units,

            keyless entry systems, MAP sensors, purge control valves, starter motors, throttle

            bodies, variable cam timing, and variable valve timing;

            (d)    Mitsubishi Heavy Industries Ltd. agreed to plead guilty and pay a $14.5

            million criminal fine for its participation in a conspiracy to rig bids for, and to fix,

            stabilize and maintain the prices of compressors and condensers sold to

            automobile manufacturers in the United States and elsewhere;

            (e)    T.RAD Co. Ltd. agreed to plead guilty and pay a $13.75 million criminal

            fine for its participation in a conspiracy to rig bids for, and to fix, stabilize and

            maintain the prices of radiators and automatic transmission fluid warmers (“ATF

            warmers”) sold to automobile manufacturers in the United States and elsewhere;

            (f)    Valeo Japan Co. Ltd. agreed to plead guilty and pay a $13.6 million

            criminal fine for its participation in a conspiracy to allocate the supply of, rig bids



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               for, and to fix, stabilize and maintain the prices of air conditioning systems sold to

               automobile manufacturers in the United States and elsewhere;

               (g)    JTEKT Corporation agreed to plead guilty and pay a $103.27 million

               criminal fine for its participation in a conspiracy to allocate markets, to rig bids

               for, and to fix, stabilize and maintain the prices of bearings and electric powered

               steering assemblies sold to automobile manufacturers in the United States and

               elsewhere;

               (h)    NSK Ltd. agreed to plead guilty and pay a $68.2 million criminal fine for

               its participation in a conspiracy to allocate markets, to rig bids for, and to fix,

               stabilize and maintain the prices of bearings sold to an automobile manufacturer

               in the United States and elsewhere; and

               (i)    Yamashita Rubber Co. Ltd. agreed to plead guilty and to pay an $11

               million criminal fine for its participation in a conspiracy to rig bids for, and to fix,

               raise and maintain the prices of automotive anti-vibration rubber products sold in

               the United States and elsewhere to automobile manufacturers.

       119.    On the same day, September 26, 2013, then United States Attorney General Eric

Holder presented the DOJ’s most recent findings in the ongoing automotive parts investigation.

He stated “[t]hese international price-fixing conspiracies affected more than $5 billion in

automotive parts sold to U.S. car manufacturers. In total, more than 25 million cars purchased by

American consumers were affected by the illegal conduct.” Then Attorney General Holder also

described how the conspiracies worked: “[c]ompany executives met face to face in the United

States and Japan – and talked on the phone – to reach collusive agreements to rig bids, fix prices

and allocate the supply of auto parts sold to U.S. car companies. In order to keep their illegal



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conduct secret, they used code names and met in remote locations. Then they followed up with

each other regularly to make sure the collusive agreements were being adhered to.” Then

Attorney General Holder explained that the automotive parts conspiracies “targeted U.S.

manufacturing, U.S. businesses and U.S. consumers. As a result of these conspiracies,

Americans paid more for their cars.”

       120.   The diagram below, which was prepared by the DOJ, illustrates the September 26,

2013 guilty pleas and the corresponding automotive parts to which the various manufacturers

have admitted price-fixing.




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       121.    On October 9, 2013, Takata Corporation announced that it agreed to pay $71.3

million to settle antitrust charges brought by the United States federal prosecutors for its role in a

conspiracy to price-fix seatbelts.

       122.    On November 26, 2013, the DOJ announced that Toyo Tire & Rubber Co. Ltd.

agreed to plead guilty and pay a $120 million criminal fine for its role in two separate

conspiracies. Toyo Tire & Rubber Co. Ltd. engaged in a conspiracy to suppress and eliminate

competition in the automotive parts industry by agreeing to allocate sales of, to rig bids for, and

to fix, raise, and maintain the prices of, automotive anti-vibration rubber products sold to Toyota

Motor Corporation, Nissan Motor Corporation, Fuji Heavy Industries, Ltd., and certain of their

subsidiaries, affiliates and suppliers in the United States and elsewhere, and by agreeing to

allocate sales of, and to fix, raise, and maintain the prices of, automotive constant-velocity-joint

boot products sold to GKN plc and its subsidiaries in the United States and elsewhere.

       123.    On November 27, 2013, the DOJ announced that Stanley Electric Co. Ltd. agreed

to plead guilty and pay a $1.44 million criminal fine for its participation in a conspiracy to fix

prices of automotive HID lamp ballasts installed in automobiles sold in the United States and

elsewhere.

       124.    On January 16, 2014, the DOJ announced that Koito Manufacturing Co. Ltd.

agreed to plead guilty and pay a $56.6 million criminal fine for its roles in separate price-fixing

conspiracies involving automobile lighting fixtures and automotive HID lamp ballasts installed

in cars sold in the United States and elsewhere.

       125.     On February 3, 2014, the DOJ announced that Aisan Industry Co. Ltd. agreed to

plead guilty and pay a $6.86 million criminal fine for its role in a price-fixing conspiracy




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involving electronic throttle bodies sold to an automobile manufacturer in the United States and

elsewhere.

       126.      On February 13, 2014, the DOJ announced that Bridgestone Corp. agreed to plead

guilty and pay a $425 million criminal fine for its role in a conspiracy to fix prices of automotive

anti-vibration rubber parts installed in automobiles sold in the United States and elsewhere.

       127.      On April 23, 2014, the DOJ announced that Showa Corp. agreed to plead guilty

and pay a $19.9 million criminal fine for its role in a conspiracy to fix prices and rig bids for

pinion-assist type electric powered steering assemblies installed in cars sold in the United States

and elsewhere.

       128.      On August 19, 2014, the DOJ announced that NGK Sparkplug Co. Ltd. agreed to

plead guilty and pay a $52.1 million criminal fine for its role in a conspiracy to fix prices and rig

bids for spark plugs, standard oxygen sensors, and air fuel ratio sensors installed in cars sold to

automobile manufacturers in the United States and elsewhere.

       129.      On September 29, 2014, the DOJ announced that Toyoda Gosei Co. Ltd. agreed

to plead guilty and to pay a $26 million criminal fine for its involvement in a combination and

conspiracy to suppress competition in the automotive parts industry by agreeing to allocate sales

of, to rig bids for, and to fix, stabilize, and maintain the prices of certain automotive hoses sold to

Toyota in the United States and by agreeing to allocate sales of, to rig bids for, and to fix,

stabilize, and maintain the prices of, automotive airbags and steering wheels sold to Subaru and

Toyota in the United States and elsewhere.

       130.      On October 31, 2014, the DOJ announced that Hitachi Metals Ltd. agreed to plead

guilty and pay a $1.25 million criminal fine for its role in a conspiracy to suppress competition in

the automotive parts industry by agreeing to allocate sales of, rig bids for, and to fix, raise, and



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maintain the prices of automotive brake hoses installed in automobiles sold in the United States

and elsewhere.

       131.      On November 13, 2014, the DOJ announced that Aisin Seiki Co. Ltd. agreed to

plead guilty and pay a $35.8 million criminal fine for its role in a conspiracy to allocate

customers of variable valve timing devices installed in cars sold to automobile manufacturers in

the United States and elsewhere.

       132.      On November 24, 2014, the DOJ announced that Continental Automotive

Electronics LLC and Continental Automotive Korea Ltd. agreed to plead guilty and pay a

criminal fine of $4 million for their roles in a conspiracy to rig bids of IPCs installed in vehicles

manufactured and sold in the United States.

       133.      On January 27, 2015, the DOJ announced that Sanden Corp. agreed to plead

guilty and pay a $3.2 million criminal fine for its participation in a combination and conspiracy

to suppress and eliminate competition in the automotive parts industry by agreeing to fix,

stabilize, and maintain the prices of compressors sold to Nissan in the United States and

elsewhere.

       134.      On March 31, 2015, the DOJ announced that Robert Bosch GmbH agreed to

plead guilty and to pay a $57.8 million criminal fine for its role in a conspiracy to fix prices and

rig bids for spark plugs, oxygen sensors and starter motors sold to automobile and internal

combustion engine manufacturers in the United States and elsewhere.

       135.      On April 28, 2015, the DOJ announced that Yamada Manufacturing Co., Ltd.

agreed to plead guilty and to pay a $2.5 million criminal fine for its role in a conspiracy to rig

bids for, and to fix, stabilize, and maintain the prices of steering columns sold to certain

subsidiaries of Honda Motor Co., Ltd., in the United States and elsewhere, from at least as early



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as the fall of 2007 and continuing until as late as September 2012, in violation of the Sherman

Act, 15 U.S.C. § 1.

       136.    On September 3, 2015, the DOJ announced that NGK Insulators Ltd. agreed to

plead guilty and to pay a $65.3 million criminal fine for its role in a conspiracy to suppress and

eliminate competition in the automotive parts industry by agreeing to rig bids for, and to fix,

stabilize, and maintain the prices of ceramic substrates for automotive catalytic converters

supplied to automobile manufacturers in the United States and elsewhere. The company also

agreed to plead guilty to obstruction of justice for altering, destroying or concealing documents

with the intent to impede the criminal antitrust investigation.

       137.    On September 16, 2015, the DOJ announced that Kayaba Industries Co. Ltd. d/b/a

KYB Corporation agreed to plead guilty and to pay a $62 million criminal fine for its role in a

conspiracy to suppress and eliminate competition in the automotive parts industry by agreeing to

allocate markets, rig bids for, and to fix, stabilize, and maintain the prices of shock absorbers

sold to certain automobile and motorcycle manufacturers in the United States and elsewhere.

       138.    On October 8, 2015, the DOJ announced that two former executives and one

current executive of Nishikawa Rubber Co. were indicted for conspiring to fix the prices of

automotive body sealing products, which include body-side opening seals, door-side weather-

stripping, glass-run channels, trunk lids and other smaller seals. Two of the individuals were also

indicted for instructing and encouraging certain employees of Nishikawa Rubber Co. to destroy

documents in an effort to impede the criminal antitrust investigation.

       139.    On November 19, 2015, the DOJ announced that INOAC Corp. agreed to plead

guilty and to pay a $2.35 million criminal fine for its role in a conspiracy to suppress and

eliminate competition in the automotive parts industry by agreeing to allocate sales of, to rig bids



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for, and to fix, stabilize, and maintain the prices of certain plastic interior trim automotive parts

sold to Toyota in the United States and elsewhere.

       140.    On March 17, 2016, the DOJ announced that Omron Automotive Electronics Co.,

Ltd. agreed to plead guilty and to pay a $4.55 million criminal fine for its role in a conspiracy to

suppress and eliminate competition in the automotive parts industry by agreeing to allocate sales

of, to rig bids for, and to fix, stabilize, and maintain the prices of power window switches sold to

Honda in the United States and elsewhere.

       141.    On May 16, 2016, the DOJ announced that Corning International K.K. agreed to

plead guilty and to pay a $66.5 million criminal fine for its role in a conspiracy to suppress and

eliminate competition in the automotive parts industry by agreeing to allocate sales of, to rig bids

for, and to fix, stabilize, and maintain the prices of ceramic substrates sold to automobile

manufacturers in the United States and elsewhere.

       142.    On June 15, 2016, the DOJ announced that a federal grand jury, sitting in the U.S.

District Court for the Southern District of Ohio, returned two indictments charging Japanese

automotive parts companies, their U.S. subsidiaries, and a total of five executives with criminal

antitrust violations for their participation in international conspiracies to eliminate competition in

the sale of automotive parts in the United States. One of the indictments charges Tokai Kogyo

Co. Ltd., its wholly-owned U.S. subsidiary, Green Tokai Co. Ltd., and its former executive

Akitada Tazumi with conspiring to rig bids for and fix the prices of automotive body sealing

products sold to an automobile manufacturer for installation in vehicles sold in the United States

and elsewhere.    The other indictment charges Defendant Maruyasu Industries Co. Ltd., its

wholly-owned U.S. subsidiary, Defendant Curtis-Maruyasu America Inc., and their executives,

Tadao Hirade, Satoru Murai, Kazunori Kobayashi and Yoshihiro Shigematsu, with conspiring to



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fix prices, allocate customers, and rig bids for Automotive Steel Tubes sold to automobile

manufacturers for installation in vehicles sold in the United States and elsewhere.

       143.    On July 20, 2016, the DOJ announced that Nishikawa Rubber Co. Ltd. agreed to

plead guilty and pay a $130 million criminal fine for its role in a conspiracy to suppress and

eliminate competition in the automotive parts industry by agreeing to allocate sales of, to rig bids

for, and to fix, stabilize, and maintain the prices of automotive body sealing products sold to

automobile manufacturers in the United States and elsewhere.

       144.    On August 9, 2016, the DOJ announced that Hitachi Automotive Systems Ltd.

agreed to plead guilty and pay a $55.48 million fine for its role in a conspiracy to allocate

markets, fix prices and rig bids for shock absorbers sold to vehicle manufacturers in the United

States and elsewhere from the mid-1990s until the summer of 2011. According to the press

release, although Hitachi Automotive Systems Ltd. previously agreed to plead guilty to price-

fixing and bid-rigging various automotive parts, it failed to uncover and disclose that it had also

conspired to fix the prices of shock absorbers.

       145.    To date, 46 companies and 64 individuals have been charged in the Antitrust

Division’s ongoing investigation into price-fixing and bid-rigging in the automotive parts

industry. Of the 46 companies charged, 42 have either pleaded guilty or agreed to plead guilty

and altogether, they have agreed to pay a total of more than $2.8 billion in criminal fines.

       146.    As stated by the FBI’s Special Agent in Charge, Andrew G. Arena in a January

30, 2012 press release, “[t]his criminal activity has a significant impact on the automotive

manufacturers in the United States, Canada, Japan and Europe and has been occurring at least a

decade. The conduct had also affected commerce on a global scale in almost every market where

automobiles are manufactured and/or sold.” As Mr. Arena previously said in a September 29,



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2011 press release, “[w]hen companies partner to control and price fix bids or contracts, it

undermines the foundation of the United States’ economic system. The FBI is committed to

aggressively pursuing any company involved in antitrust crimes.”

                                 CLASS ACTION ALLEGATIONS

          147.   Plaintiffs bring this action on behalf of themselves and as a class action under

Rule 23(a) and (b)(2) of the Federal Rules of Civil Procedure, seeking equitable and injunctive

relief on behalf of the following class (the “Nationwide Class”):

                 All persons and entities who, during the Class Period, purchased or
                 leased a new Vehicle in the United States not for resale which
                 included one or more Automotive Steel Tube(s) as a component
                 part, which were manufactured or sold by a Defendant, any current
                 or former subsidiary of a Defendant or any co-conspirator of the
                 Defendants.

          148.   Plaintiffs also bring this action on behalf of themselves and as a class action under

Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure seeking damages pursuant to state

antitrust, unfair competition, and consumer protection laws as well as common law unjust

enrichment on behalf of the following class (the “Damages Class”):

                 All persons and entities who, during the Class Period, purchased or
                 leased a new Vehicle in the Indirect Purchaser States1 not for
                 resale which included one or more Automotive Steel Tube(s) as a
                 component part, which were manufactured or sold by a Defendant,
                 any current or former subsidiary of a Defendant or any co-
                 conspirator of the Defendants.

          149.   The Nationwide Class and the Damages Class are referred to herein as the

“Classes.” Excluded from the Classes are Defendants, their parent companies, subsidiaries and

affiliates, any co-conspirators, federal governmental entities and instrumentalities of the federal



1
    The Indirect Purchaser States are the states listed in the Second and Third Claims for Relief.



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government, states and their subdivisions, agencies and instrumentalities, and persons who

purchased Automotive Steel Tubes directly or for resale.

       150.    While Plaintiffs do not know the exact number of the members of the Classes,

Plaintiffs believe there are (at least) thousands of members in each Class.

       151.    Common questions of law and fact exist as to all members of the Classes. This is

particularly true given the nature of Defendants’ conspiracy, which was generally applicable to

all the members of both Classes, thereby making appropriate relief with respect to the Classes as

a whole. Such questions of law and fact common to the Classes include, but are not limited to:

               (a) Whether Defendants and their co-conspirators engaged in a combination and

               conspiracy among themselves to fix, raise, maintain or stabilize the prices of

               Automotive Steel Tubes sold in the United States;

               (b) The identity of the participants of the alleged conspiracy;

               (c) The duration of the alleged conspiracy and the acts carried out by Defendants

               and their co-conspirators in furtherance of the conspiracy;

               (d) Whether the alleged conspiracy violated the Sherman Act, as alleged in the

               First Claim for Relief;

               (e) Whether the alleged conspiracy violated state antitrust, unfair competition,

               and/or consumer protection laws, as alleged in the Second and Third Claims for

               Relief;

               (f) Whether Defendants unjustly enriched themselves to the detriment of the

               Plaintiffs and the members of the Classes, thereby entitling Plaintiffs and the

               members of the Classes to disgorgement of all benefits derived by Defendants, as

               alleged in the Fourth Claim for Relief;



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               (g) Whether the conduct of Defendants and their co-conspirators, as alleged in

               this Complaint, caused injury to the business or property of Plaintiffs and the

               members of the Classes;

               (h) The effect of the alleged conspiracy on the prices of Automotive Steel Tubes

               sold in the United States during the Class Period;

               (i) Whether Plaintiffs and members of the Classes had any reason to know or

               suspect the conspiracy, or any means to discover the conspiracy;

               (j) Whether Defendants and their co-conspirators fraudulently concealed the

               conspiracy’s existence from Plaintiffs and the members of the Classes;

               (k) The appropriate injunctive and related equitable relief for the Nationwide

               Class; and

               (l) The appropriate class-wide measure of damages for the Damages Class.

       152.    Plaintiffs’ claims are typical of the claims of the members of the Classes, and

Plaintiffs will fairly and adequately protect the interests of the Classes. Plaintiffs and all

members of the Classes are similarly affected by the Defendants’ wrongful conduct in that they

paid artificially inflated prices for Automotive Steel Tubes purchased indirectly from Defendants

and/or their co-conspirators.

       153.    Plaintiffs’ claims arise out of the same common course of conduct giving rise to

the claims of the other members of the Classes. Plaintiffs’ interests are coincident with, and not

antagonistic to, those of the other members of the Classes. Plaintiffs are represented by counsel

who are competent and experienced in the prosecution of antitrust and class action litigation.




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       154.    The questions of law and fact common to the members of the Classes

predominate over any questions affecting only individual members, including legal and factual

issues relating to liability and damages.

       155.    Class action treatment is a superior method for the fair and efficient adjudication

of the controversy, in that, among other things, such treatment will permit a large number of

similarly situated persons to prosecute their common claims in a single forum simultaneously,

efficiently and without the unnecessary duplication of evidence, effort and expense that

numerous individual actions would engender. The benefits of proceeding through the class

mechanism, including providing injured persons or entities with a method for obtaining redress

for claims that might not be practicable to pursue individually, substantially outweigh any

difficulties that may arise in the management of this class action.

       156.    The prosecution of separate actions by individual members of the Classes would

create a risk of inconsistent or varying adjudications, establishing incompatible standards of

conduct for Defendants.

               PLAINTIFFS AND THE CLASSES SUFFERED ANTITRUST INJURY

       157.    Defendants’ price-fixing conspiracy had the following effects, among others:

               (a) Price competition has been restrained or eliminated with respect to

               Automotive Steel Tubes;

               (b) The prices of Automotive Steel Tubes have been fixed, raised, maintained, or

               stabilized at artificially inflated levels;

               (c) Indirect purchasers of Automotive Steel Tubes have been deprived of free

               and open competition; and

               (d) Indirect purchasers of Automotive Steel Tubes paid artificially inflated

               prices.

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       158.    During the Class Period, Plaintiffs and the members of the Classes paid supra-

competitive prices for Automotive Steel Tubes. OEMS and automotive dealers passed on

inflated prices to Plaintiffs and the members of the Classes. Those overcharges have unjustly

enriched Defendants.

       159.    The markets for Automotive Steel Tubes and Vehicles are inextricably linked and

intertwined because the market for Automotive Steel Tubes exists to serve the Vehicle market.

Without the Vehicles, the Automotive Steel Tubes have little to no value because they have no

independent utility. Indeed, the demand for Vehicles creates the demand for Automotive Steel

Tubes. As stated in the 2010 Annual Report of Lear Corporation, an automotive parts supplier:

“Our sales are driven by the number of vehicles produced by the automotive manufacturers,

which is ultimately dependent on consumer and fleet demand for automotive vehicles.”

       160.    Automotive Steel Tubes are identifiable, discrete physical products that remain

essentially unchanged when incorporated into a Vehicle. As a result, Automotive Steel Tubes

follow a traceable physical chain of distribution from Defendants to Plaintiffs and the members

of the Classes, and cost changes attributable to Automotive Steel Tubes can be traced through the

chain of distribution to Plaintiffs and the members of the Classes.

       161.    Just as Automotive Steel Tubes can be physically traced through the supply chain,

so can their price be traced to show that changes in the prices paid by direct purchasers of

Automotive Steel Tubes affect prices paid by indirect purchasers of Vehicles containing

Automotive Steel Tubes.

       162.    While even a monopolist would increase its prices when the cost of its inputs

increased, the economic necessity of passing through cost changes increases with the degree of

competition a firm faces. The OEM and dealer markets for Vehicles are subject to vigorous price



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competition. The OEMs and dealers have thin net margins, and are therefore at the mercy of their

component costs, such that increases in the price of components such as Automotive Steel Tubes

lead to corresponding increases in prices for Vehicles at the OEM and dealer levels. When

downstream distribution markets are highly competitive, as they are in the case of Vehicles

containing Automotive Steel Tubes as components, overcharges are passed through to ultimate

consumers, such as the indirect-purchaser Plaintiffs and members of the Classes.

       163.    Hence the inflated prices of Automotive Steel Tubes in Vehicles resulting from

Defendants’ bid-rigging and price-fixing conspiracy have been passed on to Plaintiffs and the

other members of the Classes by OEMs and dealers.

       164.    The economic and legal literature has recognized that unlawful overcharges in a

component normally result in higher prices for products containing that price-fixed component.

Two antitrust scholars – Professors Robert G. Harris (Professor Emeritus and former Chair of the

Business and Public Policy Group at the Haas School of Business at the University of California

at Berkeley) and the late Lawrence A. Sullivan (Professor of Law Emeritus at Southwestern Law

School and author of the Handbook of the Law of Antitrust) – have observed that “in a multiple-

level chain of distribution, passing on monopoly overcharges is not the exception: it is the rule.”2

       165.    As Professor Jeffrey K. MacKie-Mason (Arthur W. Burks Professor for

Information and Computer Science and Professor of Economics and Public Policy at the

University of Michigan), an expert who presented evidence in a number of the indirect purchaser

cases involving Microsoft Corporation, said (in a passage quoted in the judicial decision in that

case granting class certification):


2
 Robert G. Harris & Lawrence A. Sullivan, Passing on the Monopoly Overcharge: A
Comprehensive Policy Analysis, 128 U. PA. L. REV. 268, 275 (1979).



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               As is well known in economic theory and practice, at least some of
               the overcharge will be passed on by distributors to end consumers.
               When the distribution markets are highly competitive, as they are
               here, all or nearly the entire overcharge will be passed on through
               to ultimate consumers…Both of Microsoft’s experts also agree
               upon the economic phenomenon of cost pass through, and how it
               works in competitive markets. This general phenomenon of cost
               pass through is well established in antitrust laws and economics as
               well.3

       166.    The purpose of the conspiratorial conduct of Defendants and their co-conspirators

was to raise, fix, rig or stabilize the price of Automotive Steel Tubes and, as a direct and

foreseeable result, the price of Vehicles containing Automotive Steel Tubes. Economists have

developed techniques to isolate and understand the relationship between one “explanatory”

variable and a “dependent” variable in those cases when changes in the dependent variable are

explained by changes in a multitude of variables, even when all such variables may be changing

simultaneously. That analysis - called regression analysis - is commonly used in the real world

and in litigation to determine the impact of a price increase on one cost in a product (or service)

that is an assemblage of costs. Thus, it is possible to isolate and identify only the impact of an

increase in the price of Automotive Steel Tubes on prices for Vehicles even though such

products contain a number of other components whose prices may be changing over time. A

regression model can explain how variation in the price of Automotive Steel Tubes affects

changes in the price of Vehicles. In such models, the price of Automotive Steel Tubes would be

treated as an independent or explanatory variable. The model can isolate how changes in the




3
 Order re: Class Certification at 13-14, Coordination Proceedings Special Title (Rule 1550(b))
Microsoft I-V Cases, No. J.C.C.P. No. 4106, (Cal. Sup. Ct. Aug. 29, 2000).



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price of Automotive Steel Tubes impact the price of Vehicles containing Automotive Steel Tubes

while controlling for the impact of other price-determining factors.

       167.    The precise amount of the overcharge impacting the prices of Vehicles containing

Automotive Steel Tubes can be measured and quantified. Commonly used and well-accepted

economic models can be used to measure both the extent and the amount of the supra-

competitive charge passed through the chain of distribution. Thus, the economic harm to

Plaintiffs and members of the Classes can be quantified.

       168.    In addition to the regression analysis discussed above demonstrating impact on

consumers, the DOJ’s Antitrust Division, which has been investigating this cartel for some time,

has concluded that there is “no doubt” that consumers were hurt financially. Sharis A.

Pozen, then Acting Assistant Attorney General in charge of the DOJ’s Antitrust Division said:

“By rigging bids . . . [automotive parts manufacturers engaged in a price-fixing conspiracy]

inflated what some of their auto manufacturing clients paid, and indirectly, what consumers paid

for some cars.” She also explained that “[a]s a result of this international price-fixing and bid-

rigging conspiracy, automobile manufacturers paid noncompetitive and higher prices for parts in

cars sold to U.S. consumers.” Ms. Pozen also stated that “[t]his cartel harmed an important

industry in our nation’s economy, and the Antitrust Division with the Federal Bureau of

Investigation will continue to work together to ensure that these kinds of conspiracies are

stopped.” In a separate press statement, Ms. Pozen vowed to continue the investigation into

“pernicious cartel conduct that results in higher prices to American consumers . . . .”

       169.    On February 15, 2013, Scott Hammond, the Deputy Assistant Attorney General in

the DOJ’s Antitrust Division, discussed the DOJ’s ongoing automotive parts investigation in a

Thomson Reuters article. He said “[t]he investigation is broader than what we’ve announced so



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far . . . . [The investigation] is still very much ongoing, but it already appears to be the biggest

criminal antitrust investigation that we’ve ever encountered. I say biggest with respect to the

impact on U.S. businesses and consumers, and the number of companies and executives that

are subject to the investigation.” (emphasis added).

       170.    On September 26, 2013, then United States Attorney General Eric Holder in the

Antitrust Division presented the DOJ’s then most recent findings in the ongoing automotive parts

investigation. He stated “[t]hese international price-fixing conspiracies affected more than $5

billion in automobile parts sold to U.S. car manufacturers. In total, more than 24 million cars

purchased by American consumers were affected by the illegal conduct.” Then Attorney General

Holder also described how the conspiracies worked: “[c]ompany executives met face to face in

the United States and Japan – and talked on the phone – to reach collusive agreements to rig

bids, fix prices and allocate the supply of automotive parts sold to U.S. car companies. To keep

their illegal conduct secret, they used code names and met in remote locations. Then they

followed up with each other regularly to make sure the collusive agreements were being adhered

to.” Then Attorney General Holder explained that the automotive parts conspiracies “targeted

U.S. manufacturing, U.S. businesses and U.S. consumers. As a result of these conspiracies,

Americans paid more for their cars.”

       171.     On May 25, 2014, news sources reported that Brent Snyder, a deputy assistant

attorney general in the Antitrust Division, said with respect to the automotive parts conspiracies,

“[i]t’s a very, very safe assumption that U.S. consumers paid more, and sometimes significantly

more, for their automobiles as a result of this conspiracy.”

       172.    By reason of the violations of the antitrust and consumer protection laws alleged

herein, Plaintiffs and the members of the Classes have sustained injury to their businesses or



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property, having paid higher prices for Automotive Steel Tubes than they would have paid in the

absence of Defendants’ illegal contract, combination, or conspiracy, and, as a result, have

suffered damages in an amount presently undetermined. This is an antitrust injury of the type that

the antitrust laws were meant to punish and prevent.


  PLAINTIFFS’ CLAIMS ARE NOT BARRED BY THE STATUTE OF LIMITATIONS

       A.      The Statute of Limitations Did Not Begin to Run Because Plaintiffs Did Not
               And Could Not Discover Their Claims

       173.    Plaintiffs repeat and re-allege the allegations set forth above. Plaintiffs and the

members of the Classes had no knowledge of the combination or conspiracy alleged herein, or of

facts sufficient to place them on inquiry notice of the claims set forth herein, until (at the earliest)

June 15, 2016, the date that the DOJ announced that Defendant Maruyasu Industries Co., Ltd.,

Defendant Curtis-Maruyasu America, Inc., Hirade, Murai, Kobayashi, and Shigematsu were

charged for their roles in the criminal price-fixing and bid-rigging conspiracy alleged herein.

       174.    Plaintiffs and members of the Classes are consumers who purchased or leased

Vehicles containing Automotive Steel Tubes. They had no direct contact or interaction with

Defendants and had no means from which they could have discovered the Automotive Steel

Tubes combination and conspiracy described in this Complaint before June 15, 2016.

       175.    No information in the public domain was available to Plaintiffs and members of

the Classes concerning the combination or conspiracy alleged herein prior to June 15, 2016, the

date that the DOJ announced that Defendant Maruyasu Industries Co., Ltd., Defendant Curtis-

Maruyasu America, Inc., Hirade, Murai, Kobayashi, and Shigematsu were charged for their roles

in the criminal price-fixing and bid-rigging conspiracy alleged herein, that revealed sufficient

information to suggest that the Defendants were involved in a criminal conspiracy to fix the

prices of, and rig bids for, Automotive Steel Tubes. Plaintiffs and the members of the Classes

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had no means of obtaining any facts or information concerning any aspect of the Defendants’

dealings with OEMs or other direct purchasers, much less the fact that they and their co-

conspirators had engaged in the combination and conspiracy alleged herein.

       176.    For these reasons, the statute of limitations as to Plaintiffs’ and the Classes’

claims did not begin to run, and has been tolled with respect to the claims that Plaintiffs and the

members of the Classes have alleged in this Complaint.

       B.      Fraudulent Concealment Tolled the Statute of Limitations

       177.    In the alternative, application of the doctrine of fraudulent concealment tolled the

statute of limitations on the claims asserted herein by Plaintiffs and the Classes. Plaintiffs and the

members of the Classes did not discover, and could not discover through the exercise of

reasonable diligence, the existence of the conspiracy alleged herein until June 15, 2016, the date

the DOJ announced that Defendant Maruyasu Industries Co., Ltd., Defendant Curtis-Maruyasu

America, Inc., Hirade, Murai, Kobayashi, and Shigematsu were charged for their roles in the

criminal price-fixing and bid-rigging conspiracy alleged herein.

       178.    Before that time, Plaintiffs and the members of the Classes were unaware of

Defendants’ unlawful conduct, and did not know before then that they were paying supra-

competitive prices for Automotive Steel Tubes throughout the United States during the Class

Period. No information, actual or constructive, was ever made available to Plaintiffs and

members of the Classes that even hinted to Plaintiffs that they were being injured by Defendants’

unlawful conduct.

       179.    The affirmative acts of Defendants alleged herein, including acts in furtherance of

the conspiracy, were wrongfully concealed and carried out in a manner that precluded detection.

       180.    Specifically, as then Attorney General Holder explained in connection with the

DOJ’s globally coordinated investigation into price-fixing in the Automotive parts industry, “[i]n

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order to keep their illegal conduct secret, [Defendants] used code names and met in remote

locations.”

       181.      By its very nature, Defendants’ anticompetitive conspiracy and unlawful

combinations were inherently self-concealing. Automotive Steel Tubes are not exempt from

antitrust regulation and, thus, Plaintiffs and members of the Classes reasonably considered the

Automotive Steel Tubes industry to be a competitive industry. Defendants met and

communicated in secret and agreed to keep the facts about their collusive conduct from being

discovered by any member of the public or by the OEMs and other direct purchasers with whom

they did business. Accordingly, a reasonable person under the circumstances would not have

been alerted to begin to investigate the legitimacy of the Defendants’ Automotive Steel Tube

prices before June 15, 2016.

       182.      Plaintiffs and the members of the Classes could not have discovered the alleged

contract, conspiracy or combination at an earlier date by the exercise of reasonable diligence

because of the deceptive practices and techniques of secrecy employed by the Defendants and

their co-conspirators to avoid detection of, and fraudulently conceal, their contract, combination,

or conspiracy.

       183.      Throughout the course of the conspiracy, Defendants met and communicated in

secret to conceal their conspiracy from the public and avoid detection thereof. Above and beyond

their acts in furtherance of the conspiracy, such as acts of bid rigging, Defendants engaged in

surreptitious activity such as using code names and meeting at private residences or remote

locations. The conspirators also coordinated their pricing in a manner to avoid detection by the

OEMs. The exact dates and times of these meetings are within the knowledge of Defendants,

including those Defendants who have pleaded guilty to criminal violations of the Sherman Act.



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       184.    Because the alleged conspiracy was both self-concealing and affirmatively

concealed by Defendants and their co-conspirators, Plaintiffs and members of the Classes had no

knowledge of the alleged conspiracy, or of any facts or information that would have caused a

reasonably diligent person to investigate whether a conspiracy existed, until June 15, 2016, the

date the DOJ announced that Defendant Maruyasu Industries Co., Ltd., Defendant Curtis-

Maruyasu America, Inc., Hirade, Murai, Kobayashi, and Shigematsu were charged for their roles

in the criminal price-fixing and bid-rigging conspiracy alleged herein.

       185.    For these reasons, the statute of limitations applicable to Plaintiffs’ and the

Classes’ claims was tolled and did not begin to run until June 15, 2016.

                                FIRST CLAIM FOR RELIEF
                           Violation of Section 1 of the Sherman Act
                       (on behalf of Plaintiffs and the Nationwide Class)

       186.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

       187.    Defendants and unnamed co-conspirators entered into and engaged in a contract,

combination, or conspiracy in unreasonable restraint of trade in violation of Section 1 of the

Sherman Act (15 U.S.C. § 1).

       188.    The acts done by each of the Defendants as part of, and in furtherance of, their

and their co-conspirators’ contract, combination, or conspiracy were authorized, ordered, or done

by their officers, agents, employees, or representatives while actively engaged in the

management of their affairs.

       189.    During the Class Period, Defendants and their co-conspirators entered into a

continuing agreement, understanding and conspiracy in restraint of trade to artificially fix, raise,

stabilize, and control prices for Automotive Steel Tubes, thereby creating anticompetitive effects.




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          190.   The anticompetitive acts were intentionally directed at the United States market

for Automotive Steel Tubes and had a substantial and foreseeable effect on interstate commerce

by raising and fixing prices for Automotive Steel Tubes throughout the United States.

          191.   The conspiratorial acts and combinations have caused unreasonable restraints in

the market for Automotive Steel Tubes.

          192.   As a result of Defendants’ unlawful conduct, Plaintiffs and other similarly

situated indirect purchasers in the Nationwide Class who purchased Automotive Steel Tubes

have been harmed by being forced to pay inflated, supra-competitive prices for Automotive Steel

Tubes.

          193.   In formulating and carrying out the alleged agreement, understanding and

conspiracy, Defendants and their co-conspirators did those things that they combined and

conspired to do, including but not limited to the acts, practices and course of conduct set forth

herein.

          194.   Defendants’ and their co-conspirators’ conspiracy had the following effects,

among others:

                 (a) Price competition in the market for Automotive Steel Tubes has been

                 restrained, suppressed, and/or eliminated in the United States;

                 (b) Prices for Automotive Steel Tubes sold by Defendants and their co-

                 conspirators have been fixed, raised, maintained, and stabilized at artificially high,

                 non-competitive levels throughout the United States; and

                 (c) Plaintiffs and members of the Nationwide Class who purchased Automotive

                 Steel Tubes indirectly from Defendants and their co-conspirators have been

                 deprived of the benefits of free and open competition.



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       195.         Plaintiffs and members of the Nationwide Class have been injured and will

continue to be injured in their business and property by paying more for Automotive Steel Tubes

purchased indirectly from Defendants and their co-conspirators than they would have paid and

will pay in the absence of the conspiracy.

       196.         The alleged contract, combination, or conspiracy is a per se violation of the

federal antitrust laws.

       197.         Plaintiffs and members of the Nationwide Class are entitled to an injunction

against Defendants, preventing and restraining the violations alleged herein.

                                  SECOND CLAIM FOR RELIEF
                                 Violation of State Antitrust Statutes
                            (on behalf of Plaintiffs and the Damages Class)

       198.         Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

       199.         During the Class Period, Defendants and their co-conspirators engaged in a

continuing contract, combination or conspiracy with respect to the sale of Automotive Steel

Tubes in unreasonable restraint of trade and commerce and in violation of the various state

antitrust and other statutes set forth below.

       200.         The contract, combination, or conspiracy consisted of an agreement among

Defendants and their co-conspirators to fix, raise, inflate, stabilize, and/or maintain at artificially

supra-competitive prices for Automotive Steel Tubes and to allocate customers for Automotive

Steel Tubes in the United States.

       201.         In formulating and effectuating this conspiracy, Defendants and their co-

conspirators performed acts in furtherance of the combination and conspiracy, including:

              (a)       participating in meetings and conversations among themselves in the United

              States and elsewhere during which they agreed to price Automotive Steel Tubes at

              certain levels, and otherwise to fix, increase, inflate, maintain, or stabilize effective

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               prices paid by Plaintiffs and members of the Damages Class with respect to

               Automotive Steel Tubes sold in the United States;

               (b)       allocating customers and markets for Automotive Steel Tubes in the United

               States in furtherance of their agreements; and

               (c)       participating in meetings and conversations among themselves in the United

               States and elsewhere to implement, adhere to, and police the unlawful agreements

               they reached.

        202.         Defendants and their co-conspirators engaged in the actions described above for

the purpose of carrying out their unlawful agreements to fix, maintain, increase, or stabilize

prices and to allocate customers with respect to Automotive Steel Tubes.

        203.         Defendants’ anticompetitive acts described above were knowing and willful and

constitute violations or flagrant violations of the following state antitrust statutes.

        204.         Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Arizona Revised Statutes, §§ 44-1401, et seq.

               (a)       Defendants’ combination or conspiracy had the following effects: (1)

               Automotive Steel Tube price competition was restrained, suppressed, and eliminated

               throughout Arizona; (2) Automotive Steel Tube prices were raised, fixed, maintained

               and stabilized at artificially high levels throughout Arizona; (3) Plaintiffs and

               members of the Damages Class were deprived of free and open competition; and (4)

               Plaintiffs and members of the Damages Class paid supracompetitive, artificially

               inflated prices for Automotive Steel Tubes.

               (b)       During the Class Period, Defendants’ illegal conduct substantially affected

               Arizona commerce.



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              (c)         As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

              and members of the Damages Class have been injured in their business and property

              and are threatened with further injury.

              (d)         By reason of the foregoing, Defendants entered into agreements in restraint

              of trade in violation of Ariz. Rev. Stat. §§ 44-1401, et seq. Accordingly, Plaintiffs

              and members of the Damages Class seek all forms of relief available under Ariz.

              Rev. Stat. §§ 44-1401, et seq.

       205.         Defendants have entered into an unlawful agreement in restraint of trade in

violation of the California Business and Professions Code, §§ 16700, et seq.

                    (a)     During the Class Period, Defendants and their co-conspirators entered into

                    and engaged in a continuing unlawful trust in restraint of the trade and commerce

                    described above in violation of Section 16720, California Business and

                    Professions Code. Defendants, each of them, have acted in violation of Section

                    16720 to fix, raise, stabilize, and maintain prices of, and allocate markets for,

                    Automotive Steel Tubes at supra-competitive levels.

                    (b)     The aforesaid violations of Section 16720, California Business and

                    Professions Code, consisted, without limitation, of a continuing unlawful trust and

                    concert of action among the Defendants and their co-conspirators, the substantial

                    terms of which were to fix, raise, maintain, and stabilize the prices of, and to

                    allocate markets for, Automotive Steel Tubes.

                    (c)     For the purpose of forming and effectuating the unlawful trust, the

                    Defendants and their co-conspirators have done those things which they combined

                    and conspired to do, including but not limited to the acts, practices and course of



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              conduct set forth above and the following: (1) Fixing, raising, stabilizing, and

              pegging the price of Automotive Steel Tubes; and (2) Allocating among

              themselves the production of Automotive Steel Tubes.

              (d)     The combination and conspiracy alleged herein has had, inter alia, the

              following effects: (1) Price competition in the sale of Automotive Steel Tubes has

              been restrained, suppressed, and/or eliminated in the State of California; (2)

              Prices for Automotive Steel Tubes sold by Defendants and their co-conspirators

              have been fixed, raised, stabilized, and pegged at artificially high, non-

              competitive levels in the State of California and throughout the United States; and

              (3) Those who purchased Automotive Steel Tubes directly or indirectly from

              Defendants and their co-conspirators have been deprived of the benefit of free and

              open competition.

              (e)     As a direct and proximate result of Defendants’ unlawful conduct,

              Plaintiffs and members of the Damages Class have been injured in their business

              and property in that they paid more for Automotive Steel Tubes than they

              otherwise would have paid in the absence of Defendants’ unlawful conduct. As a

              result of Defendants’ violation of Section 16720 of the California Business and

              Professions Code, Plaintiffs and members of the Damages Class seek treble

              damages and their cost of suit, including a reasonable attorney’s fee, pursuant to

              Section 16750(a) of the California Business and Professions Code.

       206.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the District of Columbia Code Annotated §§ 28-4501, et seq.




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               (a)    Defendants’ combination or conspiracy had the following effects: (1)

               Automotive Steel Tube price competition was restrained, suppressed, and

               eliminated throughout the District of Columbia; (2) Automotive Steel Tube prices

               were raised, fixed, maintained and stabilized at artificially high levels throughout

               the District of Columbia; (3) Plaintiffs and members of the Damages Class were

               deprived of free and open competition; and (4) Plaintiffs and members of the

               Damages Class paid supra-competitive, artificially inflated prices for Automotive

               Steel Tubes.

               (b)    During the Class Period, Defendants’ illegal conduct substantially affected

               District of Columbia commerce.

               (c)    As a direct and proximate result of Defendants’ unlawful conduct,

               Plaintiffs and members of the Damages Class have been injured in their business

               and property and are threatened with further injury.

               (d)    By reason of the foregoing, Defendants have entered into agreements in

               restraint of trade in violation of District of Columbia Code Ann. §§ 28-4501, et

               seq. Accordingly, Plaintiffs and members of the Damages Class seek all forms of

               relief available under District of Columbia Code Ann. §§ 28-4501, et seq.

       207.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Iowa Code §§ 553.1, et seq.

               (a)    Defendants’ combination or conspiracy had the following effects: (1)

               Automotive Steel Tube price competition was restrained, suppressed, and

               eliminated throughout Iowa; (2) Automotive Steel Tube prices were raised, fixed,

               maintained and stabilized at artificially high levels throughout Iowa; (3) Plaintiffs



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               and members of the Damages Class were deprived of free and open competition;

               and (4) Plaintiffs and members of the Damages Class paid supra-competitive,

               artificially inflated prices for Automotive Steel Tubes.

               (b)    During the Class Period, Defendants’ illegal conduct substantially affected

               Iowa commerce.

               (c)    As a direct and proximate result of Defendants’ unlawful conduct,

               Plaintiffs and members of the Damages Class have been injured in their business

               and property and are threatened with further injury.

               (d)    By reason of the foregoing, Defendants have entered into agreements in

               restraint of trade in violation of Iowa Code §§ 553.1, et seq. Accordingly,

               Plaintiffs and members of the Damages Class seek all forms of relief available

               under Iowa Code §§ 553.1, et seq.

       208.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Kansas Statutes Annotated, §§ 50-101, et seq.

               (a)    Defendants’ combination or conspiracy had the following effects: (1)

               Automotive Steel Tube price competition was restrained, suppressed, and

               eliminated throughout Kansas; (2) Automotive Steel Tube prices were raised,

               fixed, maintained and stabilized at artificially high levels throughout Kansas; (3)

               Plaintiffs and members of the Damages Class were deprived of free and open

               competition; and (4) Plaintiffs and members of the Damages Class paid supra-

               competitive, artificially inflated prices for Automotive Steel Tubes.

               (b)    During the Class Period, Defendants’ illegal conduct substantially affected

               Kansas commerce.



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              (c)     As a direct and proximate result of Defendants’ unlawful conduct,

              Plaintiffs and members of the Damages Class have been injured in their business

              and property and are threatened with further injury.

              (d)     By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of Kansas Stat. Ann. §§ 50-101, et seq. Accordingly,

              Plaintiffs and members of the Damages Class seek all forms of relief available

              under Kansas Stat. Ann. §§ 50-101, et seq.

       209.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Maine Revised Statutes, Maine Rev. Stat. Ann. 10, §§ 1101, et seq.

              (a)     Defendants’ combination or conspiracy had the following effects: (1)

              Automotive Steel Tube price competition was restrained, suppressed, and

              eliminated throughout Maine; (2) Automotive Steel Tube prices were raised,

              fixed, maintained and stabilized at artificially high levels throughout Maine; (3)

              Plaintiffs and members of the Damages Class were deprived of free and open

              competition; and (4) Plaintiffs and members of the Damages Class paid supra-

              competitive, artificially inflated prices for Automotive Steel Tubes.

              (b)     During the Class Period, Defendants’ illegal conduct substantially affected

              Maine commerce.

              (c)     As a direct and proximate result of Defendants’ unlawful conduct,

              Plaintiffs and members of the Damages Class have been injured in their business

              and property and are threatened with further injury.

              (d)     By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of Maine Rev. Stat. Ann. 10, §§ 1101, et seq.



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              Accordingly, Plaintiffs and members of the Damages Class seek all relief

              available under Maine Rev. Stat. Ann. 10, §§ 1101, et seq.

       210.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Michigan Compiled Laws Annotated §§ 445.771, et seq.

              (a)     Defendants’ combination or conspiracy had the following effects: (1)

              Automotive Steel Tube price competition was restrained, suppressed, and

              eliminated throughout Michigan; (2) Automotive Steel Tube prices were raised,

              fixed, maintained and stabilized at artificially high levels throughout Michigan;

              (3) Plaintiffs and members of the Damages Class were deprived of free and open

              competition; and (4) Plaintiffs and members of the Damages Class paid supra-

              competitive, artificially inflated prices for Automotive Steel Tubes.

              (b)     During the Class Period, Defendants’ illegal conduct substantially affected

              Michigan commerce.

              (c)     As a direct and proximate result of Defendants’ unlawful conduct,

              Plaintiffs and members of the Damages Class have been injured in their business

              and property and are threatened with further injury.

              (d)     By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of Michigan Comp. Laws Ann. §§ 445.771, et seq.

              Accordingly, Plaintiffs and members of the Damages Class seek all relief

              available under Michigan Comp. Laws Ann. §§ 445.771, et seq.

       211.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Minnesota Annotated Statutes §§ 325D.49, et seq.




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              (a)     Defendants’ combination or conspiracy had the following effects: (1)

              Automotive Steel Tube price competition was restrained, suppressed, and

              eliminated throughout Minnesota; (2) Automotive Steel Tube prices were raised,

              fixed, maintained and stabilized at artificially high levels throughout Minnesota;

              (3) Plaintiffs and members of the Damages Class were deprived of free and open

              competition; and (4) Plaintiffs and members of the Damages Class paid

              supracompetitive, artificially inflated prices for Automotive Steel Tubes.

              (b)     During the Class Period, Defendants’ illegal conduct substantially affected

              Minnesota commerce.

              (c)     As a direct and proximate result of Defendants’ unlawful conduct,

              Plaintiffs and members of the Damages Class have been injured in their business

              and property and are threatened with further injury.

              (d)     By reason of the foregoing, the Defendants have entered into agreements

              in restraint of trade in violation of Minnesota Stat. §§ 325D.49, et seq.

              Accordingly, Plaintiffs and members of the Damages Class seek all relief

              available under Minnesota Stat. §§ 325D.49, et seq.

       212.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Mississippi Code Annotated §§ 75-21-1, et seq.

              (a)     Defendants’ combination or conspiracy had the following effects: (1)

              Automotive Steel Tube price competition was restrained, suppressed, and

              eliminated throughout Mississippi; (2) Automotive Steel Tube prices were raised,

              fixed, maintained and stabilized at artificially high levels throughout Mississippi;

              (3) Plaintiffs and members of the Damages Class were deprived of free and open



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              competition; and (4) Plaintiffs and members of the Damages Class paid

              supracompetitive, artificially inflated prices for Automotive Steel Tubes.

              (b)     During the Class Period, Defendants’ illegal conduct substantially affected

              Mississippi commerce.

              (c)     As a direct and proximate result of Defendants’ unlawful conduct,

              Plaintiffs and members of the Damages Class have been injured in their business

              and property and are threatened with further injury.

              (d)     By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of Mississippi Code Ann. §§ 75-21-1, et seq.

              Accordingly, Plaintiffs and members of the Damages Class seek all relief

              available under Mississippi Code Ann. §§ 75-21-1, et seq.

       213.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Nebraska Revised Statutes §§ 59-801, et seq.

              (a)     Defendants’ combination or conspiracy had the following effects: (1)

              Automotive Steel Tube price competition was restrained, suppressed, and

              eliminated throughout Nebraska; (2) Automotive Steel Tube prices were raised,

              fixed, maintained and stabilized at artificially high levels throughout Nebraska;

              (3) Plaintiffs and members of the Damages Class were deprived of free and open

              competition; and (4) Plaintiffs and members of the Damages Class paid supra-

              competitive, artificially inflated prices for Automotive Steel Tubes.

              (b)     During the Class Period, Defendants’ illegal conduct substantially affected

              Nebraska commerce.




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              (c)    As a direct and proximate result of Defendants’ unlawful conduct,

              Plaintiffs and members of the Damages Class have been injured in their business

              and property and are threatened with further injury.

              (d)    By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of Nebraska Revised Statutes §§ 59-801, et seq.

              Accordingly, Plaintiffs and members of the Damages Class seek all relief

              available under Nebraska Revised Statutes §§ 59-801, et seq.

       214.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Nevada Revised Statutes Annotated §§ 598A.010, et seq.

              (a)    Defendants’ combination or conspiracy had the following effects: (1)

              Automotive Steel Tube price competition was restrained, suppressed, and

              eliminated throughout Nevada; (2) Automotive Steel Tube prices were raised,

              fixed, maintained and stabilized at artificially high levels throughout Nevada; (3)

              Plaintiffs and members of the Damages Class were deprived of free and open

              competition; and (4) Plaintiffs and members of the Damages Class paid supra-

              competitive, artificially inflated prices for Automotive Steel Tubes.

              (b)    During the Class Period, Defendants’ illegal conduct substantially affected

              Nevada commerce.

              (c)    As a direct and proximate result of Defendants’ unlawful conduct,

              Plaintiffs and members of the Damages Class have been injured in their business

              and property and are threatened with further injury.

              (d)    By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of Nevada Rev. Stat. Ann. §§ 598A.010, et seq.



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              Accordingly, Plaintiffs and members of the Damages Class seek all relief

              available under Nevada Rev. Stat. Ann. §§ 598A.010, et seq.

       215.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the New Hampshire Revised Statutes §§ 356:1, et seq.

              (a)    Defendants’ combination or conspiracy had the following effects: (1)

              Automotive Steel Tube price competition was restrained, suppressed, and

              eliminated throughout New Hampshire; (2) Automotive Steel Tube prices were

              raised, fixed, maintained and stabilized at artificially high levels throughout New

              Hampshire; (3) Plaintiffs and members of the Damages Class were deprived of

              free and open competition; and (4) Plaintiffs and members of the Damages Class

              paid supra-competitive, artificially inflated prices for Automotive Steel Tubes.

              (b)    During the Class Period, Defendants’ illegal conduct substantially affected

              New Hampshire commerce.

              (c)    As a direct and proximate result of Defendants’ unlawful conduct,

              Plaintiffs and members of the Damages Class have been injured in their business

              and property and are threatened with further injury.

              (d)    By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of New Hampshire Revised Statutes §§ 356:1, et

              seq. Accordingly, Plaintiffs and members of the Damages Class seek all relief

              available under New Hampshire Revised Statutes §§ 356:1, et seq.

       216.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the New Mexico Statutes Annotated §§ 57-1-1, et seq.




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              (a)    Defendants’ combination or conspiracy had the following effects: (1)

              Automotive Steel Tube price competition was restrained, suppressed, and

              eliminated throughout New Mexico; (2) Automotive Steel Tube prices were

              raised, fixed, maintained and stabilized at artificially high levels throughout New

              Mexico; (3) Plaintiffs and members of the Damages Class were deprived of free

              and open competition; and (4) Plaintiffs and members of the Damages Class paid

              supra-competitive, artificially inflated prices for Automotive Steel Tubes.

              (b)    During the Class Period, Defendants’ illegal conduct substantially affected

              New Mexico commerce.

              (c)    As a direct and proximate result of Defendants’ unlawful conduct,

              Plaintiffs and members of the Damages Class have been injured in their business

              and property and are threatened with further injury.

              (d)    By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of New Mexico Stat. Ann. §§ 57-1-1, et seq.

              Accordingly, Plaintiffs and members of the Damages Class seek all relief

              available under New Mexico Stat. Ann. §§ 57-1-1, et seq.

       217.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the New York General Business Laws §§ 340, et seq.

              (a)    Defendants’ combination or conspiracy had the following effects: (1)

              Automotive Steel Tube price competition was restrained, suppressed, and

              eliminated throughout New York; (2) Automotive Steel Tube prices were raised,

              fixed, maintained and stabilized at artificially high levels throughout New York;

              (3) Plaintiffs and members of the Damages Class were deprived of free and open



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               competition; and (4) Plaintiffs and members of the Damages Class paid supra-

               competitive, artificially inflated prices for Automotive Steel Tubes when they

               purchased Vehicles containing Automotive Steel Tubes, or purchased products

               that were otherwise of lower quality than they would have been absent

               Defendants’ and their co-conspirators’ illegal acts, or were unable to purchase

               products that they otherwise would have purchased absent the illegal conduct.

               (b)    During the Class Period, Defendants’ illegal conduct substantially affected

               New York commerce.

               (c)    As a direct and proximate result of Defendants’ unlawful conduct,

               Plaintiffs and members of the Damages Class have been injured in their business

               and property and are threatened with further injury.

               (d)    By reason of the foregoing, Defendants have entered into agreements in

               restraint of trade in violation of the New York Donnelly Act, §§ 340, et seq. The

               conduct set forth above is a per se violation of the Act. Accordingly, Plaintiffs

               and members of the Damages Class seek all relief available under New York Gen.

               Bus. Law §§ 340, et seq.

       218.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the North Carolina General Statutes §§ 75-1, et seq.

               (a)    Defendants’ combination or conspiracy had the following effects: (1)

               Automotive Steel Tube price competition was restrained, suppressed, and

               eliminated throughout North Carolina; (2) Automotive Steel Tube prices were

               raised, fixed, maintained and stabilized at artificially high levels throughout North

               Carolina; (3) Plaintiffs and members of the Damages Class were deprived of free



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              and open competition; and (4) Plaintiffs and members of the Damages Class paid

              supra-competitive, artificially inflated prices for Automotive Steel Tubes.

              (b)    During the Class Period, Defendants’ illegal conduct substantially affected

              North Carolina commerce.

              (c)    As a direct and proximate result of Defendants’ unlawful conduct,

              Plaintiffs and members of the Damages Class have been injured in their business

              and property and are threatened with further injury.

              (d)    By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of North Carolina Gen. Stat. §§ 75-1, et seq.

              Accordingly, Plaintiffs and members of the Damages Class seek all relief

              available under North Carolina Gen. Stat. §§ 75-1, et. seq.

       219.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the North Dakota Century Code §§ 51-08.1-01, et seq.

              (a)    Defendants’ combination or conspiracy had the following effects: (1)

              Automotive Steel Tube price competition was restrained, suppressed, and

              eliminated throughout North Dakota; (2) Automotive Steel Tube prices were

              raised, fixed, maintained and stabilized at artificially high levels throughout North

              Dakota; (3) Plaintiffs and members of the Damages Class were deprived of free

              and open competition; and (4) Plaintiffs and members of the Damages Class paid

              supra-competitive, artificially inflated prices for Automotive Steel Tubes.

              (b)    During the Class Period, Defendants’ illegal conduct had a substantial

              effect on North Dakota commerce.




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              (c)     As a direct and proximate result of Defendants’ unlawful conduct,

              Plaintiffs and members of the Damages Class have been injured in their business

              and property and are threatened with further injury.

              (d)     By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of North Dakota Cent. Code §§ 51-08.1-01, et seq.

              Accordingly, Plaintiffs and members of the Damages Class seek all relief

              available under North Dakota Cent. Code §§ 51-08.1-01, et seq.

       220.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Oregon Revised Statutes §§ 646.705, et seq.

              (a)     Defendants’ combination or conspiracy had the following effects: (1)

              Automotive Steel Tube price competition was restrained, suppressed, and

              eliminated throughout Oregon; (2) Automotive Steel Tube prices were raised,

              fixed, maintained and stabilized at artificially high levels throughout Oregon; (3)

              Plaintiffs and members of the Damages Class were deprived of free and open

              competition; and (4) Plaintiffs and members of the Damages Class paid supra-

              competitive, artificially inflated prices for Automotive Steel Tubes.

              (b)     During the Class Period, Defendants’ illegal conduct had a substantial

              effect on Oregon commerce.

              (c)     As a direct and proximate result of Defendants’ unlawful conduct,

              Plaintiffs and members of the Damages Class have been injured in their business

              and property and are threatened with further injury.

              (d)     By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of Oregon Revised Statutes §§ 646.705, et seq.



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              Accordingly, Plaintiffs and members of the Damages Class seek all relief

              available under Oregon Revised Statutes §§ 646.705, et seq.

       221.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the South Dakota Codified Laws §§ 37-1-3.1, et seq.

              (a)     Defendants’ combination or conspiracy had the following effects: (1)

              Automotive Steel Tube price competition was restrained, suppressed, and

              eliminated throughout South Dakota; (2) Automotive Steel Tube prices were

              raised, fixed, maintained and stabilized at artificially high levels throughout South

              Dakota; (3) Plaintiffs and members of the Damages Class were deprived of free

              and open competition; and (4) Plaintiffs and members of the Damages Class paid

              supra-competitive, artificially inflated prices for Automotive Steel Tubes.

              (b)     During the Class Period, Defendants’ illegal conduct had a substantial

              effect on South Dakota commerce.

              (c)     As a direct and proximate result of Defendants’ unlawful conduct,

              Plaintiffs and members of the Damages Class have been injured in their business

              and property and are threatened with further injury.

              (d)     By reason of the foregoing, the Defendants have entered into agreements

              in restraint of trade in violation of South Dakota Codified Laws Ann. §§ 37-1, et

              seq. Accordingly, Plaintiffs and members of the Damages Class seek all relief

              available under South Dakota Codified Laws Ann. §§ 37-1, et seq.

       222.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Tennessee Code Annotated §§ 47-25-101, et seq.




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              (a)    Defendants’ combination or conspiracy had the following effects: (1)

              Automotive Steel Tube price competition was restrained, suppressed, and

              eliminated throughout Tennessee; (2) Automotive Steel Tube prices were raised,

              fixed, maintained and stabilized at artificially high levels throughout Tennessee;

              (3) Plaintiffs and members of the Damages Class were deprived of free and open

              competition; and (4) Plaintiffs and members of the Damages Class paid supra-

              competitive, artificially inflated prices for Automotive Steel Tubes.

              (b)    During the Class Period, Defendants’ illegal conduct had a substantial

              effect on Tennessee commerce.

              (c)    As a direct and proximate result of Defendants’ unlawful conduct,

              Plaintiffs and members of the Damages Class have been injured in their business

              and property and are threatened with further injury.

              (d)    By reason of the foregoing, the Defendants have entered into agreements

              in restraint of trade in violation of Tennessee Code Ann. §§ 47-25-101, et seq.

              Accordingly, Plaintiffs and members of the Damages Class seek all relief

              available under Tennessee Code Ann. §§ 47-25-101, et seq.

       223.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Utah Code Annotated §§ 76-10-3101, et seq.

              (a)    Defendants’ combination or conspiracy had the following effects: (1)

              Automotive Steel Tube price competition was restrained, suppressed, and

              eliminated throughout Utah; (2) Automotive Steel Tube prices were raised, fixed,

              maintained and stabilized at artificially high levels throughout Utah; (3) Plaintiffs

              and members of the Damages Class were deprived of free and open competition;



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               and (4) Plaintiffs and members of the Damages Class paid supra-competitive,

               artificially inflated prices for Automotive Steel Tubes.

               (b)    During the Class Period, Defendants’ illegal conduct had a substantial

               effect on Utah commerce.

               (c)    As a direct and proximate result of the Defendants’ unlawful conduct,

               Plaintiffs and members of the Damages Class have been injured in their business

               and property and are threatened with further injury.

               (d)    By reason of the foregoing, Defendants have entered into agreements in

               restraint of trade in violation of Utah Code Annotated §§ 76-10-3101, et seq.

               Accordingly, Plaintiffs and members of the Damages Class seek all relief

               available under Utah Code Annotated §§ 76-10-3101, et seq.

       224.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Vermont Stat. Ann. 9 §§ 2453, et seq.

               (a)    Defendants’ combination or conspiracy had the following effects: (1)

               Automotive Steel Tube price competition was restrained, suppressed, and

               eliminated throughout Vermont; (2) Automotive Steel Tube prices were raised,

               fixed, maintained and stabilized at artificially high levels throughout Vermont; (3)

               Plaintiffs and members of the Damages Class were deprived of free and open

               competition; and (4) Plaintiffs and members of the Damages Class paid supra-

               competitive, artificially inflated prices for Automotive Steel Tubes.

               (b)    During the Class Period, Defendants’ illegal conduct had a substantial

               effect on Vermont commerce.




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              (c)     As a direct and proximate result of Defendants’ unlawful conduct,

              Plaintiffs and members of the Damages Class have been injured in their business

              and property and are threatened with further injury.

              (d)     By reason of the foregoing, the Defendants have entered into agreements

              in restraint of trade in violation of Vermont Stat. Ann. 9 §§ 2453, et seq.

              Accordingly, Plaintiffs and members of the Damages Class seek all relief

              available under Vermont Stat. Ann. 9 §§ 2453, et seq.

       225.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the West Virginia Code §§ 47-18-1, et seq.

              (a)     Defendants’ combination or conspiracy had the following effects: (1)

              Automotive Steel Tube price competition was restrained, suppressed, and

              eliminated throughout West Virginia; (2) Automotive Steel Tube prices were

              raised, fixed, maintained and stabilized at artificially high levels throughout West

              Virginia; (3) Plaintiffs and members of the Damages Class were deprived of free

              and open competition; and (4) Plaintiffs and members of the Damages Class paid

              supra-competitive, artificially inflated prices for Automotive Steel Tubes.

              (b)     During the Class Period, Defendants’ illegal conduct had a substantial

              effect on West Virginia commerce.

              (c)     As a direct and proximate result of Defendants’ unlawful conduct,

              Plaintiffs and members of the Damages Class have been injured in their business

              and property and are threatened with further injury.

              (d)     By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of West Virginia Code §§ 47-18-1, et seq.



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               Accordingly, Plaintiffs and members of the Damages Class seek all relief

               available under West Virginia Code §§ 47-18-1, et seq.

       226.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Wisconsin Statutes §§ 133.01, et seq.

               (a)    Defendants’ combination or conspiracy had the following effects: (1)

               Automotive Steel Tube price competition was restrained, suppressed, and

               eliminated throughout Wisconsin; (2) Automotive Steel Tube prices were raised,

               fixed, maintained and stabilized at artificially high levels throughout Wisconsin;

               (3) Plaintiffs and members of the Damages Class were deprived of free and open

               competition; and (4) Plaintiffs and members of the Damages Class paid supra-

               competitive, artificially inflated prices for Automotive Steel Tubes.

               (b)    During the Class Period, Defendants’ illegal conduct had a substantial

               effect on Wisconsin commerce.

               (c)    As a direct and proximate result of Defendants’ unlawful conduct,

               Plaintiffs and members of the Damages Class have been injured in their business

               and property and are threatened with further injury.

               (d)    By reason of the foregoing, Defendants have entered into agreements in

               restraint of trade in violation of Wisconsin Stat. §§ 133.01, et seq. Accordingly,

               Plaintiffs and members of the Damages Class seek all relief available under

               Wisconsin Stat. §§ 133.01, et seq.

       227.    Plaintiffs and members of the Damages Class in each of the above states have

been injured in their business and property by reason of Defendants’ unlawful combination,

contract, conspiracy and agreement. Plaintiffs and members of the Damages Class have paid



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more for Automotive Steel Tubes than they otherwise would have paid in the absence of the

Defendants’ unlawful conduct. This injury is of the type the antitrust laws of the above states

were designed to prevent and flows from that which makes the Defendants’ conduct unlawful.

       228.    In addition, Defendants have profited significantly from the aforesaid conspiracy.

Defendants’ profits derived from their anticompetitive conduct come at the expense and

detriment of the Plaintiffs and the members of the Damages Class.

       229.    Accordingly, Plaintiffs and the members of the Damages Class in each of the

above jurisdictions seek damages (including statutory damages where applicable), to be trebled

or otherwise increased as permitted by a particular jurisdiction’s antitrust law, and costs of suit,

including reasonable attorneys’ fees, to the extent permitted by the above state laws.

                                 THIRD CLAIM FOR RELIEF
                         Violation of State Consumer Protection Statutes
                         (on behalf of Plaintiffs and the Damages Class)

       230.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

       231.    Defendants engaged in unfair competition or unfair, unconscionable, deceptive or

fraudulent acts or practices in violation of the state consumer protection and unfair competition

statutes listed below.

       232.    Defendants have knowingly entered into an unlawful agreement in restraint of

trade in violation of the Arkansas Code Annotated, § 4-88-101, et seq.

               (a)       Defendants knowingly agreed to, and did in fact, act in restraint of trade or

               commerce by affecting, fixing, controlling, and/or maintaining at non-competitive

               and artificially inflated levels, the prices at which Automotive Steel Tube

               Products were sold, distributed, or obtained in Arkansas and took efforts to

               conceal their agreements from Plaintiffs and members of the Damages Class.



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               (b)    The aforementioned conduct on the part of Defendants constituted

               “unconscionable” and “deceptive” acts or practices in violation of Arkansas Code

               Annotated, § 4-88-107(a)(10).

               (c)    Defendants’ unlawful conduct had the following effects: (1) Automotive

               Steel Tube Products price competition was restrained, suppressed, and eliminated

               throughout Arkansas; (2) Automotive Steel Tube Products prices were raised,

               fixed, maintained, and stabilized at artificially high levels throughout Arkansas;

               (3) Plaintiffs and the members of the Damages Class were deprived of free and

               open competition; and (4) Plaintiffs and the members of the Damages Class paid

               supra-competitive, artificially inflated prices for Automotive Steel Tubes.

               (d)    During the Class Period, Defendants’ illegal conduct substantially affected

               Arkansas commerce and consumers.

               (e)    As a direct and proximate result of the unlawful conduct of Defendants,

               Plaintiff and the members of the Damages Class have been injured in their

               business and property and are threatened with further injury.

               (f)    Defendants have engaged in unfair competition or unfair or deceptive acts

               or practices in violation of Arkansas Code Annotated, § 4-88-107(a)(10) and,

               accordingly, Plaintiffs and the members of the Damages Class seek all relief

               available under that statute.

       233.    Defendants have engaged in unfair competition or unfair, unconscionable,

deceptive or fraudulent acts or practices in violation of California Business and Professions Code

§ 17200, et seq.




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            (a)      During the Class Period, Defendants marketed, sold, or distributed

            Automotive Steel Tubes in California, and committed and continue to commit

            acts of unfair competition, as defined by Sections 17200, et seq. of the California

            Business and Professions Code, by engaging in the acts and practices specified

            above.

            (b)      This claim is instituted pursuant to Sections 17203 and 17204 of the

            California Business and Professions Code, to obtain restitution from these

            Defendants for acts, as alleged herein, that violated Section 17200 of the

            California Business and Professions Code, commonly known as the Unfair

            Competition Law.

            (c)      Defendants’ conduct as alleged herein violated Section 17200. The acts,

            omissions, misrepresentations, practices and non-disclosures of Defendants, as

            alleged herein, constituted a common, continuous, and continuing course of

            conduct of unfair competition by means of unfair, unlawful, and/or fraudulent

            business acts or practices within the meaning of California Business and

            Professions Code, Section 17200, et seq., including, but not limited to, the

            following: (1) the violations of Section 1 of the Sherman Act, as set forth above;

            (2) the violations of Section 16720, et seq., of the California Business and

            Professions Code, set forth above;

            (d)      Defendants’ acts, omissions, misrepresentations, practices, and non-

            disclosures, as described above, whether or not in violation of Section 16720, et

            seq., of the California Business and Professions Code, and whether or not




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            concerted or independent acts, are otherwise unfair, unconscionable, unlawful or

            fraudulent;

            (e)    Defendants’ acts or practices are unfair to purchasers of Automotive Steel

            Tubes (or Vehicles containing them) in the State of California within the meaning

            of Section 17200, California Business and Professions Code;

            (f)    Defendants’ acts and practices are fraudulent or deceptive within the

            meaning of Section 17200 of the California Business and Professions Code.

            (g)    Plaintiffs and members of the Damages Class are entitled to full restitution

            and/or disgorgement of all revenues, earnings, profits, compensation, and benefits

            that may have been obtained by Defendants as a result of such business acts or

            practices.

            (h)    The illegal conduct alleged herein is continuing and there is no indication

            that Defendants will not continue such activity into the future.

            (i)    The unlawful and unfair business practices of Defendants have caused and

            continue to cause Plaintiffs and the members of the Damages Class to pay supra-

            competitive and artificially-inflated prices for Automotive Steel Tubes (or

            Vehicles containing them). Plaintiffs and the members of the Damages Class

            suffered injury in fact and lost money or property as a result of such unfair

            competition.

            (j)    The conduct of Defendants as alleged in this Complaint violates Section

            17200 of the California Business and Professions Code.

            (k)    As alleged in this Complaint, Defendants and their co-conspirators have

            been unjustly enriched as a result of their wrongful conduct and by Defendants’



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               unfair competition. Plaintiffs and the members of the Damages Class are

               accordingly entitled to equitable relief including restitution and/or disgorgement

               of all revenues, earnings, profits, compensation, and benefits that may have been

               obtained by Defendants as a result of such business practices, pursuant to the

               California Business and Professions Code, Sections 17203 and 17204.

       234.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of District of Columbia Code § 28-3901, et seq.

               (a)    Defendants agreed to, and did in fact, act in restraint of trade or commerce

               by affecting, fixing, controlling and/or maintaining, at artificial and/or non-

               competitive levels, the prices at which Automotive Steel Tubes were sold,

               distributed or obtained in the District of Columbia.

               (b)    The foregoing conduct constitutes “unlawful trade practices,” within the

               meaning of D.C. Code § 28-3904. Plaintiffs were not aware of Defendants’ price-

               fixing conspiracy and were therefore unaware that they were being unfairly and

               illegally overcharged. There was a gross disparity of bargaining power between

               the parties with respect to the price charged by Defendants for Automotive Steel

               Tubes. Defendants had the sole power to set that price and Plaintiffs had no power

               to negotiate a lower price. Moreover, Plaintiffs lacked any meaningful choice in

               purchasing Automotive Steel Tubes because they were unaware of the unlawful

               overcharge and there was no alternative source of supply through which Plaintiffs

               could avoid the overcharges. Defendants’ conduct with regard to sales of

               Automotive Steel Tubes, including their illegal conspiracy to secretly fix the price

               of Automotive Steel Tubes at supra-competitive levels and overcharge consumers,



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               was substantively unconscionable because it was one-sided and unfairly benefited

               Defendants at the expense of Plaintiffs and the public. Defendants took grossly

               unfair advantage of Plaintiffs. The suppression of competition that has resulted

               from Defendants’ conspiracy has ultimately resulted in unconscionably higher

               prices for consumers so that there was a gross disparity between the price paid

               and the value received for Automotive Steel Tubes.

               (c)     Defendants’ unlawful conduct had the following effects: (1) Automotive

               Steel Tube price competition was restrained, suppressed, and eliminated

               throughout the District of Columbia; (2) Automotive Steel Tube prices were

               raised, fixed, maintained, and stabilized at artificially high levels throughout the

               District of Columbia; (3) Plaintiffs and the Damages Class were deprived of free

               and open competition; and (4) Plaintiffs and the Damages Class paid supra-

               competitive, artificially inflated prices for Automotive Steel Tube.

               (d)     As a direct and proximate result of Defendants’ unlawful conduct,

               Plaintiffs and members of the Damages Class have been injured and are

               threatened with further injury. Defendants have engaged in unfair competition or

               unfair or deceptive acts or practices in violation of District of Columbia Code §

               28-3901, et seq., and, accordingly, Plaintiffs and members of the Damages Class

               seek all relief available under that statute.

       235.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the Florida Deceptive and Unfair Trade Practices Act,

Fla. Stat. §§ 501.201, et seq.




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              (a)        Defendants’ unlawful conduct had the following effects: (1) Automotive

              Steel Tube price competition was restrained, suppressed, and eliminated

              throughout Florida; (2) Automotive Steel Tube prices were raised, fixed,

              maintained, and stabilized at artificially high levels throughout Florida; (3)

              Plaintiffs and members of the Damages Class were deprived of free and open

              competition; and (4) Plaintiffs and members of the Damages Class paid supra-

              competitive, artificially inflated prices for Automotive Steel Tubes.

              (b)        During the Class Period, Defendants’ illegal conduct substantially affected

              Florida commerce and consumers.

              (c)        As a direct and proximate result of Defendants’ unlawful conduct,

              Plaintiffs and members of the Damages Class have been injured and are

              threatened with further injury.

              (d)        Defendants have engaged in unfair competition or unfair or deceptive acts

              or practices in violation of Florida Stat. § 501.201, et seq., and, accordingly,

              Plaintiffs and members of the Damages Class seek all relief available under that

              statute.

       236.   Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the Hawaii Revised Statutes Annotated §§ 480-1, et

seq.

              (a)        Defendants’ unlawful conduct had the following effects: (1) Automotive

              Steel Tube price competition was restrained, suppressed, and eliminated

              throughout Hawaii; (2) Automotive Steel Tube prices were raised, fixed,

              maintained, and stabilized at artificially high levels throughout Hawaii; (3)



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               Plaintiffs and members of the Damages Class were deprived of free and open

               competition; and (4) Plaintiffs and members of the Damages Class paid supra-

               competitive, artificially inflated prices for Automotive Steel Tubes.

               (b)        During the Class Period, Defendants’ illegal conduct substantially affected

               Hawaii commerce and consumers.

               (c)        As a direct and proximate result of Defendants’ unlawful conduct,

               Plaintiffs and members of the Damages Class have been injured and are

               threatened with further injury.

               (d)        Defendants have engaged in unfair competition or unfair or deceptive acts

               or practices in violation of Hawaii Rev. Stat. § 480, et seq., and, accordingly,

               Plaintiffs and members of the Damages Class seek all relief available under that

               statute.

       237.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of Mass. G.L. c. 93A, §2.

               (a)        Defendants were engaged in trade or commerce as defined by G.L. c. 93A.

               (b)        Defendants agreed to, and did in fact, act in restraint of trade or commerce

               in a market which includes Massachusetts, by affecting, fixing, controlling and/or

               maintaining at artificial and non-competitive levels, the prices at which

               Automotive Steel Tubes were sold, distributed, or obtained in Massachusetts and

               took efforts to conceal their agreements from Plaintiffs and members of the

               Damages Class.

               (c)        Defendants’ unlawful conduct had the following effects: (1) Automotive

               Steel Tubes price competition was restrained, suppressed, and eliminated



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                throughout Massachusetts; (2) Automotive Steel Tubes prices were raised, fixed,

                maintained, and stabilized at artificially high levels throughout Massachusetts; (3)

                Plaintiffs and members of the Damages Class were deprived of free and open

                competition; and (4) Plaintiffs and members of the Damages Class paid supra-

                competitive, artificially inflated prices for Automotive Steel Tubes.

                (d)      As a direct and proximate result of Defendants’ unlawful conduct,

                Plaintiffs and members of the Damages Class were injured and are threatened

                with further injury.

                (e)      Defendants have been or will be served with a demand letter in accordance

                with G.L. c. 93A, § 9, or, upon information and belief, such service of a demand

                letter was unnecessary due to the Defendant not maintaining a place of business

                within the Commonwealth of Massachusetts or not keeping assets within the

                Commonwealth. More than thirty days has passed since such demand letters were

                served, and each Defendant served has failed to make a reasonable settlement

                offer.

                (f)      By reason of the foregoing, Defendants engaged in unfair competition and

                unfair or deceptive acts or practices, in violation of G.L. c. 93A, §2. Defendants’

                and their co-conspirators’ violations of Chapter 93A were knowing or willful,

                entitling Plaintiffs and members of the Damages Class to multiple damages.

        238.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the Missouri Merchandising Practices Act, Mo. Rev.

Stat. § 407.010, et. seq.




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            (a)    Plaintiffs and the Damages Class purchased Automotive Steel Tubes for

            personal, family, or household purposes.

            (b)    Defendants engaged in the conduct described herein in connection with

            the sale of Automotive Steel Tubes in trade or commerce in a market that includes

            Missouri.

            (c)    Defendants agreed to, and did in fact, affect, fix, control, and/or maintain,

            at artificial and non-competitive levels, the prices at which Automotive Steel

            Tubes were sold, distributed, or obtained in Missouri, which conduct constituted

            unfair practices in that it was unlawful under federal and state law, violated public

            policy, was unethical, oppressive and unscrupulous, and caused substantial injury

            to Plaintiffs and members of the Damages Class.

            (d)    Defendants concealed, suppressed, and omitted to disclose material facts

            to Plaintiffs and members of the Damages Class concerning their unlawful

            activities and artificially inflated prices for Automotive Steel Tubes. The

            concealed, suppressed, and omitted facts would have been important to Plaintiffs

            and members of the Damages Class as they related to the cost of Automotive

            Steel Tubes they purchased.

            (e)    Defendants misrepresented the real cause of price increases and/or the

            absence of price reductions in Automotive Steel Tubes by making public

            statements that were not in accord with the facts.

            (f)    Defendants’ statements and conduct concerning the price of Automotive

            Steel Tubes were deceptive as they had the tendency or capacity to mislead




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            Plaintiffs and members of the Damages Class to believe that they were purchasing

            Automotive Steel Tubes at prices established by a free and fair market.

            (g)    Defendants’ unlawful conduct had the following effects: (1) Automotive

            Steel Tube price competition was restrained, suppressed, and eliminated

            throughout Missouri; (2) Automotive Steel Tube prices were raised, fixed,

            maintained, and stabilized at artificially high levels throughout Missouri; (3)

            Plaintiffs and members of the Damages Class were deprived of free and open

            competition; and (4) Plaintiffs and members of the Damages Class paid supra-

            competitive, artificially inflated prices for Automotive Steel Tubes.

            (h)    The foregoing acts and practices constituted unlawful practices in

            violation of the Missouri Merchandising Practices Act.

            (i)    As a direct and proximate result of the above-described unlawful

            practices, Plaintiffs and members of the Damages Class suffered ascertainable

            loss of money or property.

            (j)    Accordingly, Plaintiffs and members of the Damages Class seek all relief

            available under Missouri’s Merchandising Practices Act, specifically Mo. Rev.

            Stat. § 407.020, which prohibits “the act, use or employment by any person of any

            deception, fraud, false pretense, false promise, misrepresentation, unfair practice

            or the concealment, suppression, or omission of any material fact in connection

            with the sale or advertisement of any merchandise in trade or commerce…,” as

            further interpreted by the Missouri Code of State Regulations, 15 CSR 60-7.010,

            et seq., 15 CSR 60-8.010, et seq., and 15 CSR 60-9.010, et seq., and Mo. Rev.

            Stat. § 407.025, which provides for the relief sought in this count.



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       239.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the Montana Consumer Protection Act of 1973, Mont.

Code, §§ 30-14-101, et seq.

               (a)        Defendants’ unlawful conduct had the following effects: (1) Automotive

               Steel Tube price competition was restrained, suppressed, and eliminated

               throughout Montana; (2) Automotive Steel Tube prices were raised, fixed,

               maintained, and stabilized at artificially high levels throughout Montana; (3)

               Plaintiffs and members of the Damages Class were deprived of free and open

               competition; and (4) Plaintiffs and members of the Damages Class paid supra-

               competitive, artificially inflated prices for Automotive Steel Tubes.

               (b)        During the Class Period, Defendants’ illegal conduct substantially affected

               Montana commerce and consumers.

               (c)        As a direct and proximate result of Defendants’ unlawful conduct,

               Plaintiffs and members of the Damages Class have been injured and are

               threatened with further injury.

               (d)        Defendants have engaged in unfair competition or unfair or deceptive acts

               or practices in violation of Mont. Code, §§ 30-14-101, et seq., and, accordingly,

               Plaintiffs and members of the Damages Class seek all relief available under that

               statute.

       240.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the New Mexico Stat. § 57-12-1, et seq.

               (a)        Defendants agreed to, and did in fact, act in restraint of trade or commerce

               by affecting, fixing, controlling and/or maintaining at non-competitive and



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            artificially inflated levels, the prices at which Automotive Steel Tubes were sold,

            distributed or obtained in New Mexico and took efforts to conceal their

            agreements from Plaintiffs and members of the Damages Class.

            (b)    The aforementioned conduct on the part of Defendants constituted

            “unconscionable trade practices,” in violation of N.M.S.A. Stat. § 57-12-3, in that

            such conduct, inter alia, resulted in a gross disparity between the value received

            by Plaintiffs and the members of the Damages Class and the prices paid by them

            for Automotive Steel Tubes as set forth in N.M.S.A., § 57-12-2E. Plaintiffs were

            not aware of Defendants’ price-fixing conspiracy and were therefore unaware that

            they were being unfairly and illegally overcharged. There was a gross disparity of

            bargaining power between the parties with respect to the price charged by

            Defendants for Automotive Steel Tubes. Defendants had the sole power to set that

            price and Plaintiffs had no power to negotiate a lower price. Moreover, Plaintiffs

            lacked any meaningful choice in purchasing Automotive Steel Tubes because they

            were unaware of the unlawful overcharge and there was no alternative source of

            supply through which Plaintiffs’ could avoid the overcharges. Defendants’

            conduct with regard to sales of Automotive Steel Tubes, including their illegal

            conspiracy to secretly fix the price of Automotive Steel Tubes at supra-

            competitive levels and overcharge consumers, was substantively unconscionable

            because it was one-sided and unfairly benefited Defendants at the expense of

            Plaintiffs and the public. Defendants took grossly unfair advantage of Plaintiffs.

            The suppression of competition that has resulted from Defendants’ conspiracy has

            ultimately resulted in unconscionably higher prices for consumers so that there



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               was a gross disparity between the price paid and the value received for

               Automotive Steel Tubes.

               (c)     Defendants’ unlawful conduct had the following effects: (1) Automotive

               Steel Tube price competition was restrained, suppressed, and eliminated

               throughout New Mexico; (2) Automotive Steel Tube prices were raised, fixed,

               maintained, and stabilized at artificially high levels throughout New Mexico; (3)

               Plaintiffs and the members of the Damages Class were deprived of free and open

               competition; and (4) Plaintiffs and the members of the Damages Class paid supra-

               competitive, artificially inflated prices for Automotive Steel Tubes.

               (d)     During the Class Period, Defendants’ illegal conduct substantially affected

               New Mexico commerce and consumers.

               (e)     As a direct and proximate result of the unlawful conduct of Defendants,

               Plaintiffs and the members of the Damages Class have been injured and are

               threatened with further injury.

               (f)     Defendants have engaged in unfair competition or unfair or deceptive acts

               or practices in violation of New Mexico Stat. § 57-12-1, et seq., and, accordingly,

               Plaintiffs and the members of the Damages Class seek all relief available under

               that statute.

       241.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of N.Y. Gen. Bus. Law § 349, et seq.

               (a)     Defendants agreed to, and did in fact, act in restraint of trade or commerce

               by affecting, fixing, controlling and/or maintaining, at artificial and non-

               competitive levels, the prices at which Automotive Steel Tubes were sold,



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            distributed or obtained in New York and took efforts to conceal their agreements

            from Plaintiffs and members of the Damages Class.

            (b)    Defendants and their co-conspirators made public statements about the

            prices of Automotive Steel Tubes and products containing Automotive Steel

            Tubes that Defendants knew would be seen by New York consumers; such

            statements either omitted material information that rendered the statements that

            they made materially misleading or affirmatively misrepresented the real cause of

            price increases for Automotive Steel Tubes and products containing Automotive

            Steel Tubes; and Defendants alone possessed material information that was

            relevant to consumers, but failed to provide the information.

            (c)    Because of Defendants’ unlawful trade practices in the State of New York,

            New York consumer class members who indirectly purchased Automotive Steel

            Tubes were misled to believe that they were paying a fair price for Automotive

            Steel Tubes or the price increases for Automotive Steel Tubes were for valid

            business reasons; and similarly situated consumers were potentially affected by

            Defendants’ conspiracy.

            (d)    Defendants knew that their unlawful trade practices with respect to pricing

            Automotive Steel Tubes would have an impact on New York consumers and not

            just Defendants’ direct customers.

            (e)    Defendants knew that their unlawful trade practices with respect to pricing

            Automotive Steel Tubes would have a broad impact, causing consumer class

            members who indirectly purchased Automotive Steel Tubes to be injured by




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            paying more for Automotive Steel Tubes than they would have paid in the

            absence of Defendants’ unlawful trade acts and practices.

            (f)    The conduct of Defendants described herein constitutes consumer-oriented

            deceptive acts or practices within the meaning of N.Y. Gen. Bus. Law § 349,

            which resulted in consumer injury and broad adverse impact on the public at

            large, and harmed the public interest of New York State in an honest marketplace

            in which economic activity is conducted in a competitive manner.

            (g)    Defendants’ unlawful conduct had the following effects: (1) Automotive

            Steel Tube price competition was restrained, suppressed, and eliminated

            throughout New York; (2) Automotive Steel Tube prices were raised, fixed,

            maintained, and stabilized at artificially high levels throughout New York; (3)

            Plaintiffs and members of the Damages Class were deprived of free and open

            competition; and (4) Plaintiffs and members of the Damages Class paid supra-

            competitive, artificially inflated prices for Automotive Steel Tubes.

            (h)    During the Class Period, Defendants marketed, sold, or distributed

            Automotive Steel Tubes in New York, and Defendants’ illegal conduct

            substantially affected New York commerce and consumers.

            (i)    During the Class Period, each of Defendants named herein, directly, or

            indirectly and through affiliates they dominated and controlled, manufactured,

            sold and/or distributed Automotive Steel Tubes in New York.

            (j)    Plaintiffs and members of the Damages Class seek all relief available

            pursuant to N.Y. Gen. Bus. Law § 349 (h).




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       242.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of North Carolina Gen. Stat. § 75-1.1, et seq.

               (a)     Defendants agreed to, and did in fact, act in restraint of trade or commerce

               by affecting, fixing, controlling and/or maintaining, at artificial and non-

               competitive levels, the prices at which Automotive Steel Tubes were sold,

               distributed or obtained in North Carolina and took efforts to conceal their

               agreements from Plaintiffs and members of the Damages Class.

               (b)     Defendants’ price-fixing conspiracy could not have succeeded absent

               deceptive conduct by Defendants to cover up their illegal acts. Secrecy was

               integral to the formation, implementation and maintenance of Defendants’ price-

               fixing conspiracy. Defendants committed inherently deceptive and self-concealing

               actions, of which Plaintiffs could not possibly have been aware. Defendants and

               their co-conspirators publicly provided pre-textual and false justifications

               regarding their price increases. Defendants’ public statements concerning the

               price of Automotive Steel Tubes created the illusion of competitive pricing

               controlled by market forces rather than supra-competitive pricing driven by

               Defendants’ illegal conspiracy. Moreover, Defendants deceptively concealed their

               unlawful activities by mutually agreeing not to divulge the existence of the

               conspiracy to outsiders, conducting meetings and conversations in secret,

               confining the plan to a small group of higher-level officials at each company and

               avoiding the creation of documents which would reveal the antitrust violations.

               (c)     The conduct of Defendants described herein constitutes consumer-oriented

               deceptive acts or practices within the meaning of North Carolina law, which



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            resulted in consumer injury and broad adverse impact on the public at large, and

            harmed the public interest of North Carolina consumers in an honest marketplace

            in which economic activity is conducted in a competitive manner.

            (d)     Defendants’ unlawful conduct had the following effects: (1) Automotive

            Steel Tube price competition was restrained, suppressed, and eliminated

            throughout North Carolina; (2) Automotive Steel Tube prices were raised, fixed,

            maintained, and stabilized at artificially high levels throughout North Carolina;

            (3) Plaintiffs and members of the Damages Class were deprived of free and open

            competition; and (4) Plaintiffs and members of the Damages Class paid supra-

            competitive, artificially inflated prices for Automotive Steel Tubes.

            (e)     During the Class Period, Defendants marketed, sold, or distributed

            Automotive Steel Tubes in North Carolina, and Defendants’ illegal conduct

            substantially affected North Carolina commerce and consumers.

            (f)     During the Class Period, each of the Defendants named herein, directly, or

            indirectly and through affiliates they dominated and controlled, manufactured,

            sold and/or distributed Automotive Steel Tubes in North Carolina.

            (g)     Plaintiffs and members of the Damages Class seek actual damages for

            their injuries caused by these violations in an amount to be determined at trial and

            are threatened with further injury. Defendants have engaged in unfair competition

            or unfair or deceptive acts or practices in violation of North Carolina Gen. Stat. §

            75-1.1, et seq., and, accordingly, Plaintiffs and members of the Damages Class

            seek all relief available under that statute.




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       243.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the Rhode Island Unfair Trade Practice and Consumer

Protection Act, R.I. Gen. Laws §§ 6-13.1-1, et seq.

               (a)    Members of this Damages Class purchased Automotive Steel Tubes for

               personal, family, or household purposes.

               (b)    Defendants agreed to, and did in fact, act in restraint of trade or commerce

               in a market that includes Rhode Island, by affecting, fixing, controlling, and/or

               maintaining, at artificial and non-competitive levels, the prices at which

               Automotive Steel Tubes were sold, distributed, or obtained in Rhode Island.

               (c)    Defendants deliberately failed to disclose material facts to Plaintiffs and

               members of the Damages Class concerning their unlawful activities and

               artificially inflated prices for Automotive Steel Tubes. Defendants owed a duty to

               disclose such facts, and considering the relative lack of sophistication of the

               average, non-business consumer, they breached that duty by their silence.

               Defendants misrepresented to all consumers during the Class Period that their

               Automotive Steel Tube prices were competitive and fair.

               (d)    Defendants’ unlawful conduct had the following effects: (1) Automotive

               Steel Tube price competition was restrained, suppressed, and eliminated

               throughout Rhode Island; (2) Automotive Steel Tube prices were raised, fixed,

               maintained, and stabilized at artificially high levels throughout Rhode Island; (3)

               Plaintiffs and members of the Damages Class were deprived of free and open

               competition; and (4) Plaintiffs and members of the Damages Class paid supra-

               competitive, artificially inflated prices for Automotive Steel Tubes.



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              (e)     As a direct and proximate result of Defendants’ violations of law,

              Plaintiffs and members of the Damages Class suffered an ascertainable loss of

              money or property as a result of Defendants’ use or employment of

              unconscionable and deceptive commercial practices as set forth above. That loss

              was caused by Defendants’ willful and deceptive conduct, as described herein.

              (f)     Defendants’ deception, including their affirmative misrepresentations and

              omissions concerning the price of Automotive Steel Tubes, likely misled all

              consumers acting reasonably under the circumstances to believe that they were

              purchasing Automotive Steel Tubes at prices set by a free and fair market.

              Defendants’ affirmative misrepresentations and omissions constitute information

              important to Plaintiffs and members of the Damages Class as they related to the

              cost of Automotive Steel Tubes they purchased.

              (g)     Defendants have engaged in unfair competition or unfair or deceptive acts

              or practices in violation of Rhode Island Gen. Laws. § 6-13.1-1, et seq., and,

              accordingly, Plaintiffs and members of the Damages Class seek all relief available

              under that statute.

       244.   Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of South Carolina Unfair Trade Practices Act, S.C. Code

Ann. §§ 39-5-10, et seq.

              (a)     Defendants’ combination or conspiracy had the following effects: (1)

              Automotive Steel Tubes price competition was restrained, suppressed, and

              eliminated throughout South Carolina; (2) Automotive Steel Tubes prices were

              raised, fixed, maintained, and stabilized at artificially high levels throughout



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               South Carolina; (3) Plaintiffs and members of the Damages Class were deprived

               of free and open competition; and (4) Plaintiffs and members of the Damages

               Class paid supra-competitive, artificially inflated prices for Automotive Steel

               Tubes.

               (b)      During the Class Period, Defendants’ illegal conduct had a substantial

               effect on South Carolina commerce.

               (c)      As a direct and proximate result of Defendants’ unlawful conduct,

               Plaintiffs and members of the Damages Class have been injured in their business

               and property and are threatened with further injury.

               (d)      Defendants have engaged in unfair competition or unfair or deceptive acts

               or practices in violation of S.C. Code Ann. §§ 39-5-10, et seq., and, accordingly,

               Plaintiffs and the members of the Damages Class seek all relief available under

               that statute.

       245.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of 9 Vermont § 2451, et seq.

               (a)      Defendants agreed to, and did in fact, act in restraint of trade or commerce

               in a market that includes Vermont by affecting, fixing, controlling, and/or

               maintaining, at artificial and non-competitive levels, the prices at which

               Automotive Steel Tubes were sold, distributed, or obtained in Vermont.

               (b)      Defendants deliberately failed to disclose material facts to Plaintiffs and

               members of the Damages Class concerning their unlawful activities and

               artificially inflated prices for Automotive Steel Tubes. Defendants owed a duty to

               disclose such facts, and considering the relative lack of sophistication of the



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            average, non-business consumer, Defendants breached that duty by their silence.

            Defendants misrepresented to all consumers during the Class Period that their

            Automotive Steel Tube prices were competitive and fair.

            (c)     Defendants’ unlawful conduct had the following effects: (1) Automotive

            Steel Tube price competition was restrained, suppressed, and eliminated

            throughout Vermont; (2) Automotive Steel Tube prices were raised, fixed,

            maintained, and stabilized at artificially high levels throughout Vermont; (3)

            Plaintiffs and members of the Damages Class were deprived of free and open

            competition; and (4) Plaintiffs and members of the Damages Class paid supra-

            competitive, artificially inflated prices for Automotive Steel Tubes.

            (d)     As a direct and proximate result of Defendants’ violations of law,

            Plaintiffs and members of the Damages Class suffered an ascertainable loss of

            money or property as a result of Defendants’ use or employment of

            unconscionable and deceptive commercial practices as set forth above. That loss

            was caused by Defendants’ willful and deceptive conduct, as described herein.

            (e)     Defendants’ deception, including their affirmative misrepresentations and

            omissions concerning the prices of Automotive Steel Tubes, likely misled all

            purchasers acting reasonably under the circumstances to believe that they were

            purchasing Automotive Steel Tubes at prices set by a free and fair market.

            Defendants’ misleading conduct and unconscionable activities constitutes unfair

            competition or unfair or deceptive acts or practices in violation of 9 Vermont §

            2451, et seq., and, accordingly, Plaintiffs and members of the Damages Class seek

            all relief available under that statute.



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                              FOURTH CLAIM FOR RELIEF
                                      Unjust Enrichment
                        (on behalf of Plaintiffs and the Damages Class)

         246.   Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

         247.   Plaintiffs bring this claim under the laws of all states listed in the Second and

Third Claims, supra.

         248.   As a result of their unlawful conduct described above, Defendants have and will

continue to be unjustly enriched. Defendants have been unjustly enriched by the receipt of, at a

minimum, unlawfully inflated prices and unlawful profits on sales of Automotive Steel Tubes.

         249.   Defendants have benefited from their unlawful acts and it would be inequitable

for Defendants to be permitted to retain any of the ill-gotten gains resulting from the

overpayments made by Plaintiffs of the members of the Damages Class for Automotive Steel

Tubes.

         250.   Plaintiffs and the members of the Damages Class are entitled to the amount of

Defendants’ ill-gotten gains resulting from their unlawful, unjust, and inequitable conduct.

Plaintiffs and the members of the Damages Class are entitled to the establishment of a

constructive trust consisting of all ill-gotten gains from which Plaintiffs and the members of the

Damages Class may make claims on a pro rata basis.

         251.   Pursuit of any remedies against the firms from which Plaintiffs and the members

of the Damages Class purchased Vehicles containing Automotive Steel Tubes subject to

Defendants’ conspiracy would have been futile.


                                     PRAYER FOR RELIEF

Accordingly, Plaintiffs respectfully request that:




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       252.    The Court determine that this action may be maintained as a class action under

Rule 23(a), (b)(2) and (b)(3) of the Federal Rules of Civil Procedure, and direct that reasonable

notice of this action, as provided by Rule 23(c)(2) of the Federal Rules of Civil Procedure, be

given to each and every member of the Classes;

       253.    That the unlawful conduct, contract, conspiracy, or combination alleged herein be

adjudged and decreed:

               (a)      An unreasonable restraint of trade or commerce in violation of Section 1

               of the Sherman Act;

               (b)      A per se violation of Section 1 of the Sherman Act; and

               (c)      An unlawful combination, trust, agreement, understanding and/or concert

               of action in violation of the state antitrust and unfair competition and consumer

               protection laws as set forth herein.

               (d)      Acts of unjust enrichment by Defendants as set forth herein.

       254.    Plaintiffs and the members of the Damages Class recover damages, to the

maximum extent allowed under such laws, and that a joint and several judgment in favor of

Plaintiffs and the members of the Damages Class be entered against Defendants in an amount to

be trebled to the extent such laws permit;

       255.    Plaintiffs and the members of the Damages Class recover damages, to the

maximum extent allowed by such laws, in the form of restitution and/or disgorgement of profits

unlawfully gained from them;

       256.    Defendants, their affiliates, successors, transferees, assignees and other officers,

directors, partners, agents and employees thereof, and all other persons acting or claiming to act

on their behalf or in concert with them, be permanently enjoined and restrained from in any



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manner continuing, maintaining or renewing the conduct, contract, conspiracy, or combination

alleged herein, or from entering into any other contract, conspiracy, or combination having a

similar purpose or effect, and from adopting or following any practice, plan, program, or device

having a similar purpose or effect;

       257.    Plaintiffs and the members of the Damages Class be awarded restitution,

including disgorgement of profits Defendants obtained as a result of their acts of unfair

competition and acts of unjust enrichment;

       258.    Plaintiffs and the members of the Classes be awarded pre- and post- judgment

interest as provided by law, and that such interest be awarded at the highest legal rate from and

after the date of service of this Complaint;

       259.    Plaintiffs and the members of the Classes recover their costs of suit, including

reasonable attorneys’ fees, as provided by law; and

       260.    Plaintiffs and members of the Classes have such other and further relief as the

case may require and the Court may deem just and proper.




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                                        JURY DEMAND

        Plaintiffs demand a trial by jury, pursuant to Rule 38(b) of the Federal Rules of Civil

Procedure, of all issues so triable.



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